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                      EXHIBIT GG
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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


JEAN WILLIAMS, on behalf of herself and all
similarly situated individuals,
                        Plaintiff
                                                           C.A. NO.: 3:16CV30179-MGM-
v.

CITY OF SPRINGFIELD DEPARTMENT OF
PUBLIC WORKS,
                 Defendant


     DEFENDANT, CITY OF SPRINGFIELD DEPARTMENT OF PUBLIC WORKS,
                   RESPONSE TO PLAINTIFF'S SECOND
               REQUEST FOR PRODUCTION OF DOCUMENTS


Now comes the Defendant, City of Springfield Department of Public Works and hereby responds
to the Plaintiff's Second Request for Production of Documents as follows:


1)    Any and all reports contracts, memoranda, or correspondence from any experts Defendant
      City of Springfield Department of Public Works ("DPW") ever retained for purposes of
      creation ofjob descriptions, functions, duties, tasks, and abilities for jobs within the
      direction and control ofthe Springfield DPW from 1999 to present.

      RESPONSE:

      No such documents are in the possession, custody or control of the Defendant.

2)    Any and all validation studies, jobs studies, linkage studies, and industrial organizational
      analyses done by any department or third party vendor for the DPW for purposes of
      creating the job description or job functions, tasks, duties, and abilities for the snow route
      inspector.

      RESPONSE:

      No such documents are in the possession, custody or control of the Defendant.

3)    Any and all job descriptions ever created, prepared, or edited for the snow route inspector
      from 1999 to present.
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     RESPONSE:

      In addition to the job descriptions previously provided by the Defendant in response to
      Plaintiffs First Request for Production of Documents, please see:

      Exhibit 5 - "Draft" Job Description dated September 12,2012
      Exhibit 6 - Job Posting dated October 11,2013
      Exhibit 7 - Job Posting for Streets - Engineering Forman dated August 22,2017
      Exhibit 8 - Job Posting for Landfill Forman, and Streets and Engineering dated August
      22,2017
      Exhibit 9 - Job Posting for Working Main Entrance Foreman dated April 24, 2017

4)   All documents in all computer systems that list, show, or illustrate all those persons who
     worked as a snow route inspector from 2010 to present, including all data from the Munis
     and Cartegraph software systems.

     RESPONSE:

      Please see documents provided in the Defendant's Answers and Supplemental Answers
      to Plaintiff s First Set of Interrogatories and the documents provided in the Defendant's
      Answers to Plaintiffs Second Set ofInterrogatories and Defendant's response to
      Plaintiffs Second Request for Production of Documents. In addition, please see payroll
      records attached and identified as Exhibit 10.

5)   All records that show who worked where and when during each snow season, starting with
     the 2012-2013 season and ending with snow season 2016-2017, and including payroll or
     other records showing how each was paid for such work as snow inspector.

     RESPONSE:

      Please see documents provided in the Defendant's Answers and Supplemental Answers
      to Plaintiffs First Set of Interrogatories and the documents provided in the Defendant's
      Answers to Plaintiffs Second Set ofInterrogatories and Defendant's response to
      Plaintiff s Second Request for Production of Documents.

6)    Any and all documents that illustrate or show how the job code "4616" was defined,
      entered, or determined, for how many years such code existed, and when it was created.

      RESPONSE:

      Please see documents attached and identified as Exhibit 11

7)    The union documents referenced at the time of Vincent DeSantis' deposition (August 16,
      2017) that require the employer DPW/Springfield to pay a different pay rate than listed in
      the job posting or job description for snow route inspector.
      Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 4 of 102



      RESPONSE:

      No such documents are in the Defendant's possession, custody or control.

8)    All job applications and any notes or other references that indicate or may indicate who
      applied for a snow route inspector in the years 2013 to present.

      RESPONSE:

       In addition to the job applications and notes previously provided by the Defendant in
       response to Plaintiffs First Request for Production of Documents, please see:

       Exhibit 12 - Program Disbanded following the 2013-2014 snow season.

9)    The personnel files of Vincent DeSantis and Ed Williams, including all documents
      showing their job descriptions over time.

      RESPONSE:

       Objection: Springfield objects to the foregoing request on the grounds that it is overly
       broad and unduly burdensome in that it seeks documents that are not relevant to any
       party's claim or defense and is not proportional to the needs of the case, considering the
       parties' resources, the importance of the discovery in resolving the issues, and the burden
       or expense of the proposed discovery outweighs its likely benefit, pursuant to Fed. R.
       Civ. P. 26(b)(1).

10)   Any and all documents that suggest who created the job description for the snow route
      inspector attached hereto as Bates stamped document 139.

      RESPONSE:

       Objection: Defendant objects to Production Request # 10 as the use ofthe word
       "suggests" in regard to the request is unclear and overly broad.

11)   Any and all documents that show communications, whether written or electronic, to and
      from any person who applied to be a snow route inspector from 2012 to present, including
      any and all emails, memos, postings, telephone messages, etc.

      RESPONSE:
                                                                                                         )
       No such documents are in the Defendant's possession, custody or control other than those      /
       previously provided by the Defendant in response to Plaintiff s Request for Production of
       Documents # 10 and Plaintiffs Request for Production of DocuIm11is #8;

12)   Any and all docun1entation relied on or referenced in Defendant's answer in its Position
      Statement filed with the MCAD indicating that "[t]the number of individuals available for
      Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 5 of 102



      snow removal dwindled over time from three hundred (300) in 1999 to approximately one
      hundred and twenty (120)." See position statement at page 2 paragraph two.

      RESPONSE:

       Objection: Springfield objects to the foregoing request on the grounds that it is overly
       broad and unduly burdensome in that it seeks documents that are not relevant to any
       party's claim or defense and is not proportional to the needs of the case, considering the
       parties' resources, the importance of the discovery in resolving the issues, and the burden
       or expense of the proposed discovery outweighs its likely benefit, pursuant to Fed. R.
       Civ. P. 26(b)(1). Furthermore, the Defendant states that the production of said financial
       records would be overly burdensome as it consists of thousands of pages.

13)    Any and all documents supporting Defendant's statement that "layoffs, attrition, and
       budgetary woes led to the need to hire new inspectors during the 2012-2013 winter
       season."

       RESPONSE:

       Objection: Springfield objects to the foregoing request on the grounds that it is overly
       broad and unduly burdensome in that it seeks documents that are not relevant to any
       party's claim or defense and is not proportional to the needs of the case, considering the
       parties' resources, the importance of the discovery in resolving the issues, and the burden
       or expense of the proposed discovery outweighs its likely benefit, pursuant to Fed. R.
       Civ. P. 26(b)(1). Furthermore, the Defendant states that the production of said financial
       records would be overly burdensome as it consists ofthousands of pages.

14)    All snow route maps used for snow route inspection from 2012 to present.

       RESPONSE:

        Please see the documents provided in the Defendant's Answers to Plaintiffs First Set of
        Interrogatories and the documents provided in the Defendant's Answers to Plaintiffs
        Second Set of Interrogatories # 1 and Snow Route Maps attached and identified as
        Exhibit 13.

15)    List of all snow route inspectors for the 2017-2018 winter season (as referenced in
       Vincent DeSantis' deposition at 47-48).

       RESPONSE:

        Please see:

        Exhibit 14 - DPW Snow Routes 2017-2018
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                                                   THE DEFENDANT,

                                                   CITY OF SPRINGFIELD
                                                   DEPARTMENT OF
                                                   PUBLIC WORKS

                                                   /s/ Kathleen E. Sheehan
                                            By,      j~,~
                                                   Ka leen E. Sheehan, Esq.
                                                   BBO# 456910
                                                   City of Springfield Law Department
                                                   36 Court Street, Room 210
                                                   Springfield, MA 01103
                                                   (413) 787-6085
                                                   Fax: (413) 787-6173
                                                   ksheehan@springfieldcityhall.com


                                   CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true copy of the within Defendant, City of Springfield
Department of Public Work's Response to Plaintiffs Second Request for Production of
Documents was this day served upon Plaintiffs attorneys first class U.S. Mail, postage pre-paid
on November 17,2017:

       Brodeur-MeGan, P.C.
       Lisa Brodeur-MeGan, Esq.
       Daniel X. Montagna, Esq.
       1380 Main Street, Suite 202
       Springfield, MA 01103

                                                   /s/ Kathleen E. Sheehan
                                                        I')~~
                                                    Kathleen E. Sheehan, Esq.
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   EXHIBIT 5
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                     Case 3:16-cv-30179-KAR           Document 41-25 Filed.. 01/09/19
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                                                                                                      Page 8 of 102
                                                                              .....:_- '• • , _. . . _:2. .
                                                                                           -~   ~'




       DRAFT 9/12/2012




       JOB CODE:.                       4616                                                                   UNION: Various




       JOB TITLE:                          SNoW"ROUTE INSPECTOR       FLSA STATUS:                   NON-ExEMPT

       DEPARTMENT:                         PUBLIC WORKS               REPORTS To:                    DPWs DEPUTY DIRECTOR
                                                                                                     OF OPERATION AND
                                                                                                     MAINTENANCE

       GRADE PAY                                                      CfVlL SERVICE'                 NON-CIVIL SERVICE
                                                                      STATUS:
       CODE:


         POSITION PURPOSE/SUMMARY: This is a temporary position within the Department of Public' !
         Works. The primary responsibility of this position will be.to manage, track and inspect the work
         completed by both the city's plows as well as the Hired Snow Plows. This position/title is
       . pxc!usive]y used for winter operations and will only pay the Snow Route Inspector rate while
      . performing this function during a winter storm. Work consists of inspecting the snow plow
         routes to ensure the snow plows have completed the plowing of the streets in their area properly'
         and completely. Work involves assigning hired plows to routes, monitoring and reporting
         progress to snow co'ntr61, track vendor's 'time, and inspect work to ensure the piowing was done
         properly. Performance is reviewed by DPW's management through sample inspections of'snow
         routes as well as one's ability to conform to rules,' regulations and established procedures.
         Training for this wprk will be provided by DPW. Individuals will not be compensat~d.as Snow
         Route Inspectors until they have successful completed three snowstorms on their own.

       ESSENTIAL FUNCTIONS:
                 •        Assigns city equipment and hired snow plows to routes.
                 •        Tracks and reports progress of assigned equipment and hired snow plows during winter
                          storms.
                 •        Instructs hires on the proper procedure for snow removal.
                 •        Records hired plows start time and end time for payment purposes.
                 •        Ensures the city's streets are cleared of snow in their assigned rout~.
                 •        Ensures hired plows stay on task and don't deviate from assigned plowing routes.


       KNOWLEDGE, SKILLS, AND ABILITIES: .


                 •        Ability to safely drive on snowlice covered roads.
                 •        Ability to read a map.
                 •        Ability to communicate verbally with vendors, snow control, and city residents.
                 •        Ability to log resident's complaints both through written logs as well as electronically.
                 •        Knowledge of the use of equipment and materials commonly used in municipal snow
                          removal operation.
                 •        Apility to understand and apply the laws, rules, regulations, policies, procedures,
                          standards, guidelines and specifications governing assigned activities.


                                                                                                                            139
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   EXHIBIT 6
PUBLIC WORKS
   Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 10 of 102
                                       CITY OF SPRINGFIELD
October 11, 2013                         MASSACHUSETTS


The Department of Public Works plans to fill the following positions:
                                                           JOB
  PERM.         TEMP.               TITLE                                  SALARY RANGE
                                                         CODE
                                                                            $30.00/ hour &
    (40)       Intermittent     Snow Route Inspector         4616
                                                                         $45.00/hour Overtime

Present openings for the Department of Public Works (Winter Operations). This position is
subject to transfer provision as stated in the Collective Bargaining Contract. The DPW is
intending to hire 20 primary and 20 back-up Snow Route Inspectors (40 total). Employees from
City Departments other than DPW will be required to obtain approval from their supervisor
allowing them to participate as a Snow Route Inspector during standard work days as well as
overtime periods. Non-Bargaining employees are eligible to apply for the position. Pay rates for
employees who make less than $30/hr on their full-time position will be compensated at the rates
listed above for both straight-time and overtime, while employees who make more than $30/hr
on their full time position will be paid at their usual full-time rate for straight-time and $45/ hr
overtime.

Duties as listed but not limited to those as shown in Job Description 4616. Hours to conform
with the operational work schedule to which assigned.

Tw-o informational meetings will be held in the break room at 70 Tapley St. on October 25,2012.
The first meeting will be at 7:00 am and will be for current DPW employees only. The second
meeting will be at 10:00 am for all non-DPW employees. If you cannot attend these meetings
and you have questions about these positions, please contact John Rooney at 787-6209.

If you wish to be considered for the above position, notify the DPW Director in writing stating
your interest for this position. Letter must be received before 4:00pm on the closing date at 70
Tapley Street. Please indicate in your letter which City Department you are currently employed
with.

MUST HAVE A VALID DRIVERS LICENSE TO BE CONSIDERED

LAST DATE FOR APPLYING: November 4, 2012

 ~~c;o
for Allan R. Chwalek, Director
Department of Public Works

NOTE: This position will be paid only on a "while assigned" basis. All vacation, sick
leave, other leave, and other assignments will be paid at the Employee's permanent (or
temporary) classification rate of pay.
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   EXHIBIT 7
                 Case
City of Springfield     3:16-cv-30179-KAR
                    - Class                     Document 41-25 Filed 01/09/19 Page 12 of 102
                            Specification Bulletin                                                          Page 1 of2




                                           Streets Engineering Foreman                        Class Code:
                                                                                                     4328

                                               Bargaining Unit: AFSCME 3065- AFSCME Foreman


           CITY OF SPRINGFIELD
           Established Date: Nov 1, 2011
           Revision Date: Jan 9, 2012


                                                             SALARY RANGE
                                                              $25.46 Hourly
                                                             $954.83 Weekly

           POSITION PURPOSE/SUMMARY:
           Responsible for managing roads-related projects in the City. Work is performed
           with technical independence, with considerable latitude for the exercise of
           judgment and decision making in accordance with departmental standards, under
           the supervision of the Assistant Deputy of Operations - DPW, who reviews work
           through reports and conferences. Supervision is exercised over other staff in
           support of specific projects.

           ESSENTIAL FUNCTIONS:
                • Oversees snow plowing operations. Coordinates contract and City plows.
                • Oversees road construction including milling, pothole patching, catchbasin
                  repair and storm water runoff issues.
                • Defines project tasks and resource requirements. Assembles and coordinates
                  project staff and plans and schedules project timeline.
                • Provides direction and support to project team. Monitors and reports on
                  progress of project.
                • Compiles data, creates spreadsheets and computes fees and charges.
                • Prepares invoices, keeps records, and presents monthly and quarterly fiscal
                  reports.
                • Performs related duties as required.


           KNOWLEDGE, SKILLS, AND ABILITIES:
                   Ability to keep records of invoices and supporting documents.
                   Ability to resolve discrepancies in accounting records and track project
                   amounts and costs.
                   Knowledge of personnel principles and methods.
                   Ability to interpret policy and procedure.
                   Ability to assemble, develop, evaluate, and analyze relevant data.
                   Ability to plan, assign, supervise and review the work of others.
                   Ability to express oneself clearly and concisely, both orally and in writing.


           EDUCATION AND EXPERIENCE:
                • High school diploma or equivalent.
                • Five years of experience in road construction and supervision.


           TECHNOLOGY:
           Requires advanced computer skills in Microsoft Office Suite, such as Outlook, Word,
           and Excel. Experience with Access, PowerPoint and Munis preferred.


http://agency.governmentjobs.com/springfieldma/default.cfm?action=specbulletin&ClassSpecID=840730...        10/27/2017
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                                              .
                                             t '
PLEASE POST




DEPARTMENT OF
PUBLIC WORKS                              THE CITY OF
                               SPRINGFIELD, MASSACHUSETTS



August 22, 2017


The Department of Public Works plans to fill the following position:

                                                        JOB          SALARY
PERM. TEMP.                   TITLE                     CODE         RANGE

        (1) Provo    Streets & Engineering Foreman 4328                $1,054.20 per week

Present opening is for a Streets & Engineering Foreman in the Solid Waste Division ofthe
Department of Public Works. This position is subject to transfer provisions as stated in the
Collective Bargaining Contract.

Duties as listed but not limited to those shown in Job Description 4328.

Hours to conform with the operational work schedule to which assigned.

This position also requires the individual to be involved in winter operations (subject to the
discretion of the director).

If you wish to be considered for the above position, notify the Director in writing stating your
qualifications for the position.



LAST DATE FOR REPLYING: August 29, 2017

Sincerely,


~r~~                  Dirootor
Department of Public Works
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   EXHIBIT 8
    Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 15 of 102


PLEASE POST




DEPARTMENT OF
PUBLIC WORKS
                                          THE CITY OF
                               SPRINGFIELD, MASSACHUSETTS
August 22, 2017


The Department of Public Works plans to fill the following position:

                                                        JOB          SALARY
PERM. TEMP.                   TITLE                     CODE         RANGE

 (1)   Provo              Landfill Foreman       4319               $1,054.20 per week
                                      (Additional .50 cents per hour) stipend while assigned

Present opening is for a Landfill Foreman in the Solid Waste Division of the Department of
Public WorkS. This position is subject to transfer provisions as stated in the Collective
Bargaining Contract.

Duties as listed but not limited to those shown in Job Description 4319.

Hours to conform with the operational work schedule to which assigned.

Monday - Friday            7:00AM-3:30PM

This position also requires the individual to be involved in winter operations (subject to the
discretion ofthe director).

If you wish to be considered for the above position, notify the Director in writing stating your
qualifications for the position.


LAST DATE FOR REPLYING: August 29, 2017

Sincerely,


~r~r£
Department of Public Works
Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 16 of 102




   EXHIBIT 9
_ 1__     Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 17 of 102

    "l.




          PLEASE POST

          DEPARTMENT OF
          PUBLIC WORKS



                                                THE CITY OF
                                     SPRINGFIELD, MASSACHUSETTS
          April 24, 2017


          The Department of Public Works plans to fill the following position:
                                                                     JOB                       SALARY
          PERM. Temp.            TITLE                               CODE                      RANGE

             (1)           Warking Maintenance Foreman                4315                   $20.06


          Present opening is in the Highway Division of the Department of Public Works.
          This position is subject to transfer provisions as stated in the Collective Bargaining Contract.

          Duties as listed but not limited to those shown in Job Description 4315.

          This position also requires individual to be involved in winter operations.

          If you wish to be considered for the above position, notify the Director in writing stating your
          qualifications for the position.

          Subject to Civil Service Approval.

          LAST DATE FOR REPLYING: May 1,2017
                                •

          Sin~4t?J
          Christopher M. Cignoli, Director
          Department of Public Warks
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EXHIBIT 10
                                                                                                  Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 19 of 102


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                                    Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 20 of 102

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         31617 COl           2818     903
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                                                     0    371.25    0 01442331        506000   HEBERT                  MARK
         61764 COl    .....
                             3212     903            0       450    0 01442331        506000   ROONEY                 GEORGE
                                                                                                          . .............
       1n?QQFi C03           2420     903           10       450   45 01442331        506000   BYRNE                  DAVID
       1n~nQR C03            2420     903           11       495   4501442331         506000   ROWTHAM                MAURICE
        LL1>1n? C03          2420     903
        53950 C03            3408     903             4      180   4501442331 506000           OCONNOR    .....
                                                                                                                  KEITH
       1n?QQFi C03           2420     903           5.5    247.5   45 01442331 506000          BYRNE              DAVID
       1n~nQR C03            2420     903             4      180   45 01442331 506000          ROWTHAM            MAURICE
       1.lhX-I C03          .2420     903             4      180   LLI> n1LLLL?~~1 506000      MCNULTY            MICHAEL
       1 '/44h C03           2420     903             8     360    4501442331 506000           BYRNE              DAVID
           ,102 C03          2420
                C03          2420     903             9     405    45   01442331      506000   BYRNE              DAVID
                C03          2420     903            11     495    45   01442331      506000   ROWTHAM            MAURICE
                C03          2420     903            11     495    45   01442331      506000   BYRNE              DAVID
                C03          2420     903             1      45    45   01442331      506000   ROWTHAM            MAURICE
                C03          2420     903             3     135    LLI> n1 LLLL?~~1   506000   BYRNE              DAVID
                C03          2420     903             9     405    45   01442331      506000   BYRNE              DAVID
                C03         '2420     903          13.5   607.5    45   01442399      506000   MARTINEZ
                C03          2420     903             4     180    45   01442399      506000   MARTINEZ
                C03          2420     903             5     225    45   01442399      506000   BYRNE
                C03          2420     903             4     180    45   01442399      506000   MARTINEZ
                C03          2420     903           3.5   157.5    45   01442399      506000   BYRNE
       1n~nQ~ C03            2420     903           2.5   112.5    45   01442399      506000   ROWTHAM
       109051 C03            2420     903
        45102 C03            2420     903
       109051 C03            2420     903
        LLl>1n? C03          2420     903
C242   1n?QQFi C03           2420     903
                                                                                   Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 21 of 102                                               ._ /....'~xt)Jl        ,
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 CPW5                                                 16
 CPW5                                            14616
 CPW3                                     ··.·[4616 .
iCPW5                                            :4616                                                                                         18.
:CPW5
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    "   '""   ,   ".",.".
                                                 14616                                                                                         46.8
iCPW3                                            !4616                              20                                                           3001          37.5
 CPW3                                            ;4616                              201'                                                       10.93           1.41101442331   506000
                                                14616                               200
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                                                 '4616                              200
                                                14616                               760
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                                                .4616                               760,
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                                                '4616
                                                ;4616                                                                                       1012.51                                                  08-Feb-13
                                                   4616                                                                                      20.45:                                                  08-Feb-13
                                                ;4616 .                                                                                            975:                        506000                08-Feb-13
                                                   4616                                                                                              20.45                     506000                08-Feb-13
                                                :4616                                                                                             956.25:                      506000                08-Feb-13
                            38155;C23           :4616                                                                                                19.74:                    506000                08-Feb-13
                            39475:C23           [4616                                                                                                  975:                    506000                08-Feb-13
                                                                                                                                    .............. ···14.66!
                            53652[<:24          ;4616                                                                                                                          506000                08-Feb-13
                            53052C24            :4616
                                                .             .                                                                               10.56!                           506000                08-Feb-13
                            53052,C24       ....[4616
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                                                                                                                                              937.5:                           506000
                            54551'C23           14616                                       .............•.• ,...................    .        .
                                                                                                                                                0.71!                           06000                08-Feb-13
                            54551'C23              4616                                                                                           12                           506000   JAMES        08-Feb-13
                            54551':C23             461                                                                                          6.35                           508000   JAMES        08-Feb-13i
                                                                                   Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 22 of 102

'CPW3             54557 C23    4616                        200:                                        22.5!                                                               843.75'1                      37.501442331 506000 'OLLARI                                                          JAMES                    08-Feb-13!   09-Feb-13
.
  C:PW3           67658' C20   4616                        822(          . _ - 508000 SPAULDING                     7                                                             5.81!                  0.83101442331                                                                        ROBERT           -
                                                                                                                                                                                                                                                                                                                       08-Feb-13!   08-Feb-13
'CPW3
iCPW3
                  67658,C20
                  67658
                             14616                         200,:                                               12~                                                    "              450
                                                                                                                                                                              .....................
                                                                                                                                                                                                         37.5:01442331                                    506000 SPAULDING
                                                                                                                                                                                                              } ................•......................................•................. }   ,
                                                                                                                                                                                                                                                                                              ROBERT       .
                                                                                                                                                                                                                                                                                                                       08-Feb-13
                      ., C20 ,4616                         760                                                      3                                                                       18              601442331 507500 SPAULDING                                                        ROBERT                   08-Feb-13    08-Feb-13
ICPIJY3           67658: C204616                           821                                                 121                                                                          18,           1.501442331 508000 ,SPAULDING                                                       ROBERT                   08-Feb-13,   08-Feb-13
iCPW5            105730 C23  ;4~~6                         200'                                       16.5                                                                 618.7:5;                      37.5.101442331 506000'ASTACIO                                                        LUIS                     08-Feb-13!   09-Feb-13
  CPW5           105730,C23  '4616                         201                                                     8'                                                        11.28'                      1.41'01442331 506000 'ASTACIO                                                        LUIS                     08-Feb-13    08-Feb-13
  CPW5           105848 1C03 '46··1·······6····· ,·····.. ·8· · · 2· · · 2 :,················..·················1·····4·'.···········.. ·································· · 11·· · · · · .· ·6· '· ·2"1 0.83'01442331 508000C:l.JNNINGHAM                                                    EDWARD                   08-Feb-13    09-Feb-13
                                                              ..............   ,             ,                          }'      _..                                  }........               '                   .                                                                                                              i

  CPW5           105848'C03   '4616 +                                               200."                 26.5;) _.. . . . . .                        993.75 "..... 37.5 1'..................... 01442331 506000 CUNNINGHAM EDWARD                                          08-Feb-13
                                                                                                                                                                                                                                                                                    _.   09-Feb-13
                                                                                                                                                                                                                                                                                           .
!CPW5            107108 C03   14616                                                 200'                  27.5                                    1031.25                       37.501442331 506000 ISTEVENSON ........... CHARLES                                          08-Feb-13    09-Feb-13
iCPW5
.
                 107108 C03     4616-                                               822                14.25.;.                                           11.83                 0.8301442331
                                                                                                                                                                                          ..... ,
                                                                                                                                                                                                                                        508000 ,STEVENSON
                                                                                                                                                                                                                                                ....
                                                                                                                                                                                                                                                               CHARLES      08-Feb-13    09-Feb-13
:CPW3             11636: C01S !4616                                                 201:                           81                                     11.28                 1.41:01442331 506000 CHOINIERE                                                 LEONARD      09-Feb-13    09-Feb-13
ICPW3
  .
                  11636:C01S 14616
                              .
                                                                                    201'                           8';                                       12:                    1.5101442331                       ..•...•....... ,
                                                                                                                                                                                                                                        506000
                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                CHOINIERE      LEONARD      09-Feb-13
iCPW3
;
iCPW3
          ,...
                  26908 C23
                                  ,
                  11636'C01S '4616 ,
                                4616
                                                                                    760
                                                                                    821'
                                                                                                                   41                                        24                           6101442331 507500 CHOINIERE                                          LEONARD      09-Feb-13    09-Feb-13
                                                                                                              .... 8_+                     .                    8,"                       1101442331
                                                                                                                                                                                              '.                                        508000 GENTILE    . (. ROBERT
                                                                                                                                                                                                                                                                .      _, 09-Feb-13      09-Feb-13
ICPW3             29.??8 C20    4616                                                760                            2                                         12                           6i0144??~~i:59?500                                    GRIMALDI     :ANTHONY       09-Feb-13    09-Feb-13
'CPW3             292581,....
                         C20    4616                                                821                            8:                                      7.04;
                                                                                                                                                              "",'"
                                                                                                                                                                                0.88:01442331 508000 GRIMALDI                                              .
                                                                                                                                                                                                                                                             'ANTHONY    .
                                                                                                                                                                                                                                                                            09-Feb-13 ...09-Feb-13
'CPW3             2925? C20   !4616                                                 821                            9;                                      13.5:                    1.5i0144233~,508000 'GRIMALDIIANTHONY                                                   09-Feb-13.   09-Feb-13
;CPW3             29258'C20   ;4616                                                 822:                           71                                      5.81:                0.83;01442331 ;508000 GRIMALDI                                               iANTHONY       09-Feb-13    09-Feb-13
:CPW5             29754'C234616                                                     201                             sf                                       12'                    1.5:01442331 IrS06000" GUYER                                             'KEVIN         09-Feb-13    09-Feb-13
  CPW5            34448' C23  '4616                                                 201                            8:                                        12'                    1.5i01442331 ''s06000 JANKIEWICZ                                         lSTEPHEN       09-Feb-13    09-Feb-13 Y


  CPW5            38155C23    ;4616                                                 201.(..........................;.....................................
                                                                                                                   8                                         12;..............................'
                                                                                                                                                                                    1.5:01442331,506000 ,KORMAN                                               JOSEPH        09-Feb-13.
                                                                                                                                                                                                                                                                                         09-Feb-13
                                                                                                                                                                                                                                                                                              , .      '




:CPW3             54557 C23     4616                                                821                        10                                            15                     1.5 01442331 508000 :OLLARI                                               JAMES         09-Feb-13    09-Feb-13
  CPW3            545571:C23    4616                                                760,                           3,                                        18                           601442331 507500 IOLLARI                                            JAMES         09-Feb-~3    09-Feb-13
  CPW5           1057301
                       .
                         C23    4616                                                201' . 81'.                  "'-"
                                                                                                                                                             12
                                                                                                                                                            _.....'
                                                                                                                                                                                    1.5
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                                                                                                                                                                                                 01442331
                                                                                                                                                                                                    _....... .•.. ........•..
                                                                                                                                                                                                                                     ·506000
                                                                                                                                                                                                                                     }        .
                                                                                                                                                                                                                                                ASTACIO       LUIS'         09-Feb-13    09-Feb-13
  CPW5           105848: C03    4616                                                821'                       18!                                       15.84                  0.8801442331 508000 :CUNNINGHAM EDWARD                                                      09-Feb-13   09-Feb-13
iCPW5            10584~: C03  4616                                                  82::{.,~r                                                              7.9~:                0.88101442331 508000 'CUNNINGHAM EDWARD                                                     09-Feb-13   09-Feb-13                  I
                 107108: C03  4616                                                  823                            81                                      7.04!                0.88:01442331 508000 :STEVENSON                                               CHARLES   : 09-Feb-13     09-Feb-13
                 107108 C03   4616                                                  821'          ...........
                                                                                                               19"1   'y'
                                                                                                                                                         16.72 1     ..
                                                                                                                                                                                0:88    "-i"
                                                                                                                                                                                              J  01442331                               508000  STEVENSON     CHARLES     .
                                                                                                                                                                                                                                                                            09-Feb-13   09-Feb-13
                  21462 C23   14616                                                 201                      7.5!                                        11.251                     1.5101442331 506000 iELLARD                                              [CLIFFORD      10-Feb-13: 10-Feb-13
                  29258:C20   14616                                                 200,                       13'                                      487.51                  37.5101442331 506000 GRIMALDI                                              . [ANTHONY       10-Feb-13    10-Feb-13
                  292581C2014616                                                    7Ei9j                          2                                         12                          6101442331 507500 GRIMALDI                                           ANTHONY       10-Feb-13    10-Feb-13
                  29258C20    14616                                                 821                            8                                       7.04                 0.88:01442331 508000 GRIMALDI                                                 ANTHONY       10-Feb-13    10-Feb-13
                  29258 C20   :4616                                                 822                            7                                       5.81                 0.83101442331 508000 GRIMALDI                                                 ANTHONY       10-Feb-i3    10-Feb-13
                  39475 C23   !4616                                                 200                            6!                                       225                 37.51101442331 506000 LAROE                                                   GEORGE        10-Feb-13    10-Feb-13
                  54557 C23   '4616                                                 200                        11;,                                     412.5.                  37.5!01442331 506000 i OLLARI                                                !JAMES         10-Feb-13    10-Feb-13
                  54557 C23,4616                                                    201                   7.25:                                          10.881                     1.5101442331 506000 OLLARlflAMES                                                        10-Feb-13    10-Feb-13
                    Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 23 of 102

,CPW3        4616     760'                       2               12'                         6'01442331 507500 iOLLARI                                                           'JAMES                               10-Feb-13   .... , ......
                                                                                                                                                                                                                                                   10-Feb-13
:CPW3        4616     200:                      13           487.5                       37.5 ,01442331 506000 ,SPAULDING                                                           ROBERT                            10-Feb-13                    10-Feb-13
'CPW3        4616     7601                       3               18                          601442331 507500 i'SPAULDING                                                ......
                                                                                                                                                                                    ROBERT                            10-Feb-13 , ...              10-Feb-13
'CPW3        4616    82~I                      7.5            6.23                       0.83 :01442331 508000 .SPAULDING                                                           ROBERT
                                                                                                                                                                                                       ....   "       10-Feb-13
                                                                                                                                                                                                                      ..
                                                                                                                                                                                                                                                   10-Feb-13
'CPW2        4616     200                     30.5         1143.75'                      37.5:01442331 506000 DEROSE                                                             'VINCENT                             11-Feb-13   ....... ,
                                                                                                                                                                                                                                                   14-Feb-13
'CPW2        4616     200                      1.5;          56.251                      37.5101442331 506000 SHUMWAY                                                            ,PETER                               11-Feb-13;                   11-Feb-13
:CPW5        4616     200                      5.5          206.25'                      37.5101442331 506000                                      ASTACIO                          LUIS                              11-Feb-13                    11-Feb-13
   .. ..-
:,..                                                                                                                                       ...
:CPW5        4616     201                        5            7.05                       1.41"01442331 506000 ,ASTACIO                                                              LUIS                              11-Feb-13 ,                  11-Feb-13
                                                                                                                                                                   ............                                                       . ....




!CPW2        4616     200                    14.25          534.381                      37.5 01442331 506000 'MINEO                                                                LUCA                              11-Feb-13                    15-Feb-13
                                                                                                                                                                                 )'

 CPW2        4616     200 .....                8.8             330                       37.501442331 506000 KNIGHTLY                                                               CONNOR                            11-Feb-13  .......
                                                                                                                                                                                                                                                   13-Feb-13
;CPW2        4616     200                       17                      637.5/           .37.5101442331 506000.. GARRITY                                                            PATRICK                           17-Feb-13
                                                                                                                                                                                                  ........ !............       . ........ .
                                                                                                                                                                                                                                               "
                                                                                                                                                                                                                                                   19-Feb-13
                       .. ,....
:CPW5       :4616     200                        4;                      150:            37.5101442331 506000 NORFLET                                                               GREGORY                           24-Feb-13                    24-Feb-13
:CPW5       '4616      20gl1                     5:                     187.5            37.5'01442331 506000 BEEM                                                                  STEPHEN       ......... ,........
                                                                                                                                                                                                                      19-Mar-13    . .... ,.....
                                                                                                                                                                                                                                                   19-Mar-13
 CPW5       :4616      200                       7                        315              45 01442331 ., 506000 BEEM                                                               STEPHEN                           14-Dec-13
                                                                                                                                                                                                                            ..........
                                                                                                                                                                                                                                                   14-Dec-13
'CPW5        4616      760                       1                          6,               6;g~442331 507500 BEEM                                          ...
                                                                                                                                                             '"   ~
                                                                                                                                                                                    STEPHEN                           14-Dec-13                    14-Dec-13
 CPW3        4616      760                       1                          6'               6;01442331 507500                                     CHOINIERE                        LEONARD                           14-Dec-13                    14-Dec-13
                     ................... .                                                                                                                                                     .............

:CPW3       :4616      200'                      3                        135'             45;01442331 506000                                      CHOINIERE                     'LEONARD                             14-Dec-13                    14-Dec-13
                                                                                                                                          .......                                                            ;

                                                                                           45!01442331 506000 DEROSE                                                                VINCENT                  ) 14-Dec-13:                          14-Dec-13
                                                                             ~~~t
:CPW2       :4616      200.                      3
'CPW5        4616     200'                       3                                         45:01442331 ,506000                                     ELLARD                           CLIFFORD       '11             14-Dec-13                       14-Dec-13
                                                                        ..

:CPW3        4616     200                        1                            45'          45..,.....
                                                                                               '01442331                        i  506000 GRIMALDI                                  ANTHONY                   .'   14-Dec-13                       14-Dec-13
                                                                                                      .......                   ;,
:CPW5       '4616     200'                       3                           135'          45101442331 '506000 GUYER ..                                                             KEVIN                          14-Dec-13                       14-Dec-13
'CPW5        4616     200'                       3                           135           45'01442331 506000 'JANKIEWICZ                                                           STEPHEN                        14-Dec-13                       14-Dec-13
 CPW5       :4616     200                        3                           135           45101442331 506000 .KORMAN                                                               JOSEPH                         14-Dec-13                       14-Dec-13
                                                                                                                                                                                                                                               "
                                                                                                                                                                 ...............

 CPW5       !4616     200                        1:                           45,          45101442331 506000 INORFLET                                                              GREGORY                        14-Dec-13
                                                                                                                                                                                                                           .........
                                                                                                                                                                                                                                                   14-Dec-13
                                                           ....
                                                                                              1
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'CPW3       :4616     200                        3:                          135:          45 . 01442331                        ,?06000J.sPAULDING                                  ROBERT                         14-Dec-13                       14-Dec-13
                                                                                                              . ....•...•......

 CPW3        4616     821'                       3                            4.5          1.5101442331 508000 .                                     . . ............ ROBERT
                                                                                                                                                  iSPAULDING                                                       14-Dec-13                       14-Dec-13
                                                       -                        ......                                                                                                               ......

 CPW3        4616     200                        3                           135           45.01442331 506000 'VELOZO                                                               GARY                           14-Dec-13                       14-Dec-13
 CPW3        4616     760                        3                             18            6,01442331 507500 VELOZO                                                               GARY                           14-Dec-13                       14-Dec-13
 CPW5        4616     200·                       3                           135           45101442331 506000 CUNNINGHAM EDWARD                                                                                    14-Dec-131                      14-Dec-13
 CPW2       .4616     200                        3                           1351          4501442331 506000 !MINEO                                  ~ .. ..
                                                                                                                                                                                    LUCA       ..........
                                                                                                                                                                                                                   14-Dec-13  ......•.......
                                                                                                                                                                                                                                                   14-Dec-13
 CPW5       .4616     200                        3                           135',         45:01442331 506000 STEVENSON                                                             CHARLES                        14-Dec-13                       14-Dec-13
 CPW2       :4616     200                        3                           135'          45,01442331 506000... .GARRITY                                                           PATRICK                        14-Dec-13 ;.                    14-Dec-13
                                                                                                                                                    ..
 CPW5        4616     200                       22                           9901          45101442331 506000 BEEM                                                                  STEPHEN                        15-Dec-13 ......
                                                                                                                                                                                                                                                   18-Dec-13
             4616     760:                       5!                           3011           6;01442331 507500 BEEM                                                                 STEPHEN                        15-Dec-13                       18-Dec-13
                                                ...
            ·4616     760                         3"                          18i            6'01442331 507500 CHOINIERE                                                            LEONARD                        15-Dec-13                       18-Dec-13
            ;4616     2001                      IT                           7651          45101442331 506000                        .•..
                                                                                                                                                   CHOINIERE                        LEONARD                        15-Dec-13                       18-Dec-13
            '4616     200                     22.5'1              1012S'                   45101442331 506000 DEROSE                                                                VINCENT                        15-Dec-13                       18-Dec-13
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CPW5                                                506000   ELLARD     CLIFFORD    15-Dec-13   15-Dec-13
CPW5                                                507500   ELLARD     CLIFFORD    15-Dec-13   15-Dec-13
CPW3                                                508000   GENTILE    ROBERT      15-Dec-13   15-Dec-13
CPW3                                                506000   GRIMALDI                           17-Dec-13
CPW3                                                507500   GRIMALDI               15-Dec-13   17-Dec-13
CPW5
CPW5                                     01442331   507500                          15-Dec-13   15-Dec-13
                                      45 01442331   506000                          15-Dec-13   15-Dec-13
                                         01442331   507500                          15-Dec-13   15-Dec-13
                                         01442331   507500                          15-Dec-13   15-Dec-13
                                                                           PH       15-Dec-13   17-Dec-13
                                                                                Y   15-Dec-13   15-Dec-13
                                                                                Y   15-Dec-13   15-Dec-13
                                                                        ROBERT      15-Dec-13   17-Dec-13
                                                                        ROBERT                  15-Dec-13
                                                                        GARY        15-Dec-13   15-Dec-13
                                                                        GARY        15-Dec-13   15-Dec-13
                                                                        GARY        15-Dec-13   17-Dec-13
                                                                        EDWARD      15-Dec-13   17-Dec-13
                                                                        LUCA        lS-Dec-13   18-Dec-13
                                                                        CHARLES     lS-Dec-13   17-Dec-13
                                                                        CHARLES     15-Dec-13   15-Dec-13
                                                             GARRITY    PATRICK
CPW3                                                         GRIMALDI               17-Dec-13   17-Dec-13
CPW3                                                         GRIMALDI               17-Dec-13   17-Dec-13
CPW5                                                         GUYER                  17-Dec-13   17-Dec-13
CPWS                                                         GUYER                  17-Dec-13   17-Dec-13
CPWS                                                         KORMAN                             17-Dec-13
CPWS                                                         KORMAN                 17-Dec-13   17-Dec-13
CPW3                                                                    ROBERT      17-Dec-13   17-Dec-13
CPW3                                                                    ROBERT      17-Dec-13   17-Dec-13
CPW3                                                                    GARY        17-Dec-13   17-Dec-13
                                                                        GARY        17-Dec-13   17-Dec-13
CPW3                                                                    GARY        17-Dec-13   17-Dec-13
CPW5                                                                    EDWARD      17-Dec-13   17-Dec-13
CPW5                                                                    EDWARD      17-Dec-13   17-Dec-13
CPWS                                                                    CHARLES     17-Dec-13   17-Dec-13
                                       Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 25 of 102

CPW5       107108 C03   14616 823                4.5                                3.96        0.8801442331         508000   iSTEVtl\j~JI\ CHARLES                                                  17-Dec-13   ......
                                                                                                                                                                                                                               17-Dec-13
CPW3        11 h~h C01S 14616 201                  4                                5.64        1.41 01442331        506000    CHOINIERE    LEONARD                                                  18-Dec-13                 18-Dec-13
CPW3        11636 C01S   4616 201                  6                                   9         1.5 01442331        506000    CHOINIERE    LEONARD                ..................   ,        .
                                                                                                                                                                                                     18-Dec-13                 18-Dec-13
CPW3                C23  4616 200                 13                                 585          45 01442331        506000    GENTILE      ROBERT                                                   18-Dec-13                 18-Dec-13
            ......
CPW3                C23  4616 201                  5                                7.05        1.41 01442331        506000    GENTILE      ROBERT                                                   18-Dec-13                 18-Dec-13
CPW3        26908 C23    4616 201                  8                                  12         1.5 01442331        506000   ilJtl\lllLE   ROBERT                                                   18-Dec-13                 18-Dec-13
CPW3        Lb~U~ C23   A616  760                  3                                  18             6 01442331      507500    GENTILE      ROBERT                                                   18-Dec-13                 18-Dec-13'
CPW5           3682 COl  4616200                  12                                 540          45 01442331        506000    BEEMSTEPrlEI\I                                                        02-Jan-i4  ............
                                                                                                                                                                                                                               03-Jan-14
CPW5           3682 COl 4616  760                  3                                  18            6 01442331       507500    BEEMSTEPrlEI\I                                                        02-Jan-14                 03-Jan-14'
CPW3 . .    11h~h C01S  14616 200                 13                                 585          41:; 01AA'J~:l1    506000    CHOINIERE    LEONARD                                                  02-Jan-14     .       .
                                                                                                                                                                                                                               02-Jan-14!
CPW3        11636 C01S4616    760·                 3                                  18            6 01442331       507500    CHOINIERE    LEONARD                                                  02-Jan-14
                                                                                                                                                                                                           ................
                                                                                                                                                                                                                               02-Jan-14 1
CPW2        17756 C244616200                    11.5                               517.5          4.1:; n1 • '~~~A   506000    DEROSE       V 11\1 Lt 1\1 1                                          02-Jan-14                 03-Jan-14i
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CPW5        21462 C234616260                    118                                517.5                             506000    ELLARD       CLIFFORD                           .....                 02-Jan-14                 03-Jan-14
  CPW5     21462 .......C23   461620i           48                                  6.35        1.4101442331         506000    ELLARD                   CLIFFORD                                      02-Jan-14                02-Jan~i41
  CPW5     714h7 C23          4616760             2                                   12           6 01442331        507500    ELLARD                   CLIFFORD                                      02-Jan-14                03-Jan-14i
  CPW3     26908 C23          14616  200         16                                  720          45'01' ·...,~11    506000    GENTILE                  ROBERT                                        02-Jan-14                02-Jan-14'
   PW3     26908 C23          :'4616 201          3                                 4.23        1.41 01442331        506000    GENTILE                  ROBERT                          , ....
                                                                                                                                                                                                      02-Jan-14                02-Jan-14
:CPW3      26908 C23          14616  201          8                                   12         1.5 01442331        506000    GENTILE                  ROBERT                                        02-Ja n ·1/l             02-Jan-14!
,     ..
  CPW3     26908 C23            4616 760          4                                   24           6 01442331        507500    GENTILE                  ROBERT                                        02-Jan-14                02-Jan-14!
,   .
  CPW3     29258 C20            4616 200      10.25                               461.25          45 01442331        506000    GRIMALDI                IANTHONY                                       02-Jan-14                03-Jan-14·
  CPW3     29258 C20          :4616  760          2                                   12           601442331         507500    GRIMALDI                 ANTHONY                                       02-Jan-14                02-Jan-14
                              :
  CPW5     29754 C23          :4616  200       11.5                                517.5          45 01442331        506000    GUYER                    KEVIN                                         02-Jan-14                03-jan~i411
  CPW5     29754 C23          '4616  201        4.5                                 6.35        1 &1 01LlLl?~11      506000    GUYER                    KEVIN                                         02-Jan-14                02-Jan-14
  CPW5     29754 C23            4616 760          2                                   12           6 01442331        507500    GUYER                    KEVIN                                         02-Jan-14 i              03-Jan-14
                                                                                                          "


  CPW5     34448 C23          14616  760          2                                   12           6 01442331        507500   IJANKIEWICl               STEPHEN                                       02-Jan-14                03-Jan-141
                                                                                                                                                                                                                                      .'.' ....             , "~




  CPW5     34448 C23          '4616  200       11.5                                517.5          45 01442331        506000    1/\      ~L              STEPHEN                                       02-Jan-14                03-Jan-14'
                                                                                    6.35                             506000   IJANKIEWICl               STEPHEN                                       02-Jan-14                02-Jan-14
                                                                                   517.5              45:014                         AN                'JOSEPH                                        02-Jan-14                03-Jan-14
                                                                                                                                                        ~~--                                                              ,
                                                                                                1.4~IO~~~=::::=                      ANJu~tI-'H                                                       02-Jan-14                02~jan-i41
                                                                                                                                                        ~~--
                                                                                                                                                                                                                               '63-jan~i41
                                                                                                                                                                                                                         .
                                                                                       12         .(jIC)~~42331.:?9??99              ANJu~tI-'H                                                       02-Jan-14
                                                                                     540             45101442331 1506000      LAROE                    GEORGE                                         02-Jan-14    ......
                                                                                                                                                                                                                               03-Jan-14 i
                                                                                      630       . .' 4516144:233i:566606      NORFLET                  GREGORY                                        02-Jan-14                03~jan~i41
                                                                                     6.56       1.25101442331 ::506000        NORFLET                  GREGORY                                        02-Jan-14   ......
                                                                                                                                                                                                                               02-Jan-14 1
                                                                                       12         ..(jlg~~~2:33~  ;$07500     NORFLET                  GREGORY                                        02-Jan-14                03-Jan-14 1
                                                                                     360'             45101442331 1506000     SPAULDING                ROBERT                                         02-Jan-14.........
                                                                                                                                                                                                                               02-Jan-14!
                                                                                       24:             $1~1~~?~3~ ::?9??OO    SPAULDING      .......
                                                                                                                                                       ROBERT                                         02-Jan-14'               02-Jan-14!
                              '+0.10    LUU    .1U.L::l'
                                                           •   ~   •• ~, ••• ><
                                                                                  '+O.1.L::l'
                                                                                                 ••
                                                                                                      45101442331 :i 50
                                                                                                      ~
                                                                                                                              \/I=IOlO                 GARY                                           02-Jan-14                02-Jan-14'
       Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 26 of 102

                                                  506000                 GARY
                                                  506000                 GARY
                                                  507500                 GARY
CPW3                                              508000                 GARY
CPW5                                              508000                 EDWARD
CPW5                                              506000                 EDWARD
CPW5                                              507500                 EDWARD
CPW2                                              506000                 LUCA
CPW5                                              506000                 CHARLES
CPW5                                              507500                 CHARLES
                                                                         CHARLES
                                                                         PATRICK
                                                                         KEVIN
                                                  506000         EWICZ
                                                  506000   KORMAN
                                                  506000   NORFLET       GREGORY
                                                  506000   NORFLET       GREGORY
                                                  506000   NORFLET       GREGORY
                                                  506000   BEEM          STEPHEN
CPW3                                              506000   CHOINIERE     LEONARD
CPW3                                              506000   CHOINIERE     LEONARD
CPW3                                              507500   CHOINIERE     LEONARD
CPW2                                              506000   DEROSE
CPW5                                              506000   ELLARD        CLIFFORD
CPW5                                              506000   ELLARD        CLIFFORD
CPW5                                              508000   ELLARD        CLIFFORD
                                                               TILE      ROBERT
                                                               TILE      ROBERT
                                                               TILE      ROBERT
                                                  508000   GENTILE       ROBERT
                                                  506000   GRIMALDI      ANTHONY
                                                  506000   GRIMALDI      ANTHONY
                                                  507500   GRIMALDI
                                                  506000   GUYER         KEVIN
                                                  506000   GUYER         KEVIN
                                                  507500   GUYER         KEVIN
                            337.5    4501442331   506000                 STEPHEN
                                Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 27 of 102

                                                       9.87:     1.41:01442331 506000 JANKIEWICZ     STEPHEN      05-Feb-14  05-Feb-14
                                                         12          6101442331 !SOiSOO ,JANKIEWICZ  STEPHEN      05-Feb-14' 05-Feb-14
                                                        360'~?I01~42}?1 ;50600°" i:K6RMAN            JOSEPH       05-Feb-14  05-Feb-l
                                                      10.58 .... 1.41,01442.331S06000·' KORMAN       JOSEPH       05-Feb-14  05-Feb-14,
                                                         12'         6!Oi442.33i !s6iSOO KORMAN      JOSEPH       05-Feb-14  05-Feb-14!
                                                    326.25~·451:01442331 iS06006 NORFLET            'GREGORY      05-Feb-14  05-Feb-14
                                                       6.88    '1.2.5' 01442331 '566000 ; NORFLETG~EG()RY         05-Feb-14  05-Feb-14
                                                         ~?       .. 6!01~4???1 507500 'NORFLET     .GREGORY      05-Feb-14' 05-Feb-14
                                                      382.51        45101442331 506000 SPAULDING    [ROBERT       05-Feb-14: 05-Feb-14
                                                                     6!01442331 507500 SPAULDING     ROBERT       05-Feb-14  05-Feb-14:
                                                                    45101442331 :506000VELOZO        GARY         05-Feb-14  05-Feb-14!
                                                                 1.25:01442331 506000 VELOZO        :GARY         05-Feb-14  05-Feb-14i
                                                                     6,01442331 '507500VELOZO        GARY         05-Feb-14  05-Feb-14
CPW3         73044:C23 :4616     823       4'          3.52,     0.88fOi442.331 TS08000 'VELOZO      GARY         05-Feb-1405-Feb-14
CPW5   '. 'iOS848:c63  ,4616:    822  . 7.??} . .   . Ej:9?!     O.~~IO~442.~~11508000 ,CUNNINGHAM IEDWARD        05-Feb-14  05-Feb-141
CPW5        105848!C034616       200' 7.75, ' 3 4 8 . 7 5 ' .,      45:0144??3~ 506000 CUNNINGHAM EDWARD          05-Feb-14  05-Feb-14!
CPW5      10?848 CO?  :4616      760?;                   126I014423?~ ,507500 ::CUNNINGHAM i EDWARD               05-Feb-14    05-Feb-14:
CPW2      106521:C24   4616      200    7.5:          337.5    "'45:01442.331 S06000 ,MINEO            LU'CA      05-Feb-14!   05-Feb-14
CPW5      107108ic03  ,4616      200   8.25!         371.25        4s:,oi442331 506000:S"-E\I~~S()NCHARLES        05-Feb-i4    05-Feb-14
CPW5      107108:C03   4616      760'     2,             12          601442331 :507500 STEVENSON       CHARLES    05-Feb-14    05-Feb-14'
CPW5      107108:,C034616        822,7.75::            6.43      o.83.o144i33i f s68000 !'sTEVENSON    CHARLES    05-Feb-14    05-Feb-14 1
CPW2      107759,C24  '4616      200' 10.25          461.25        4SIOi442.~~i lS060()OICJ,A.RRrry    PATRICK    05-Feb-14'   05-Feb-14
CPW3       11636:C01S  4616      200    5.5:          247.545101~42?3}:506000:CH()INIERE               LEONARD    13-Feb-14,   13-Feb-14'
CPW3       11636CC)lS  4616      201      5            7.05 ·······1.41,01442331 :506000 'CHOINIERE ~  LEONARD    13-Feb-14    13-Feb-14'
CPW3       11636:C01S '4616      760      1:               6         6'01442331 ;'507500 :CHOINIERE   ,LEONARD    13-Feb-14    13-Feb-14
CPW2       17756C24   '4616      20021                  945'       45;01442331 '50EjOOO'!DER()SE      ,VINCENT    13-Feb-14    15-Feb-14
CPW5       21462:C23  14616      200    7si           337.51       45!01442331 '506000 .ELLARD        :CLlFFORD   13-Feb-14!   14-Feb-14
CPW5       21462, C23 '4616      201      6            8.46'     1.41!Oi442.33i ,:506000 ELLARD        CLIFFORD   13-Feb-14    13-Feb-14
CPW5       21462 C23  ,4616      760      21~            12':.       6101442331 !.?O!500 ELLARD~~IFF()RD          .13~Fe~}4!13-Feb-l~j
CPW3       26908'C23  ;4616      200     20'            900        45101442331i?06000 ,GENTILE        !ROBERT     13-Feb-14!   14-Feb-14!
CPW3       26908(23   ,4616      760      5              30          6::01442331 .507500 GENTILE       ROBERT     13-Feb-14    14-Feb-14
CPW3       29258C204616          760      3!             18:         610i442.33i507500 GRIMALDI        ANTHONY    13-Feb-14'   13-Feb-14

~::~       ~~~~::~~~ i:~~~       ~~~     10.~]        4;;~! O'~~I~¥~'~~~i l~6~66(F i~::~~~~:         :~~f~6~~      ~~:;:~:~: ~::Feb.14
CPW3       29??~:qO   14616      201        81           10:   1:2$i~i44?~3f '506000!(J~IMALDI       !ANTHONY      13~~eb}~,   13-Feb-14
1CPW5297?~·q?l~616',             2001    10.?}        472.5~?!O~~~??31 506000!(J~Y~R                 !'KEVIN      13-Feb-14    14-Feb-14
:CPW5   297S4,C23 '4616          201'       8,        11.28  1.41::01442331 '506000 ,GUYER             KEVIN      13-Feb-14    13-Feb-l
                                                                                                       Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 28 of 102

iCPW5                              29754:C23                                                                760                                                                            12:                                        'GUYER                                                     iKEVIN                                  13-Feb-14     13-Feb-14
                                                                                                                                                                                                                                  .    ..                                              .
                                   34448'0'(23
                                                                                                                                                                                                                                      ,.,   "_.".""""""""    ".,.,,,.,.,."",,"-,   ,


lCPw5                                                                                                       7601                                                                           181                                        lJANKIEWICZ                                          ,....
                                                                                                                                                                                                                                                                                                 o'STEPHEN
                                                                                                                                                                                                                                                                                                      .....
                                                                                                                                                                                                                                                                                               _--:.--,.", ... "."".,   ,
                                                                                                                                                                                                                                                                                                                                         13-Feb-141    14-Feb-14
'~PVY5                             344481c23                                                                200 1                                                                     5401                                            :JANKIEWICZ                                                ISTEPHEN                                i3-Feb-14 i   14-Feb-14!
'CPW5                              344481C23 .
                                   .............
                                              ,,,   ,,.,,,,,.,,,,,,.,,   ,,   ,
                                                                                                            201                                                                                                                        JANKIEWICZ                                                 STEPHEN                                13-Feb-14     14-Feb-14 1
  PW5       :;              .
                                   381551C23                                                                200                                                               562.5                                                     KORMAN                                                   :JOSEPH                                 13-Feb-14     14-Feb-141
    Ir::.                          381                                                                      201                                                                                                                         KORMAN                                                   ,JOSEPH.                                13-Feb-14'    13-Feb-14
                                                                                                                                                                                                                                                                                           .......   ",."""."",.,           __


                                                                                                              o                                                                                                                           ORMAN                                                  :JOSEPH                                 13-Feb-14'    13-Feb-14
                                                                                                                                                                                                                                           ROE                                                   !GEORGE                                 13-Feb-14     13-Feb-141
                                                                                                                                                                                                                                                ,..,nrl CT                                       'rREGORY                                13-Feb-l      1/LC"
                                                                                                                                                                                                                                                                                                                                 ,   .
                                                                                                                                                                                                                                                                                                            ORY                                        ~')   r_L

                                                                                                                                                                                                      UJ.'+,+L,:);:J.L                                                                ROBERT
                                                                                                                                                                                                                                                                                      ROBERT                                             13-Feb-14
                                                                                                                                                                                                                                             ..................................... '.
                                                                                                                                                                                                                                                                                      ROBERT
                                                                                                                                                                                                      U.L,+,+L,:),:).L                                                                ROBERT
                                                                                                                                                                                                                                                                                      GARY
                                                                                                                                                                                                                                                     ...... ... ..............;
                                                                                                                                                                                                                                                                                      GARY                                               13-Feb-14
                                                                                                                                                                                                                                                                                      GARY                                               13-Feb-14
                                                                                      4616                                                                                                                                              CUNNINGHAM EDWARD                                                                                13-F
                                                                                      4616                                                                                                                                              CUNNINGHAM EDWARD                                                                                13-Feb-14
                                                                                      4616                                                                                                                                              CUNNINGHAM EDWARD                                                                                13-Feb-14
CPW5                                                                                  4616                                                                                                                                                                                            CHARLES
CPW5                                                                                  4616                                                                                                                                                                                            CHARLES
                                                                                                                                                                                                                                                                                            ....................................... }              .

CPW5                                                                                  4616                                                                                                                                                                                            CHARLES                                            13-Feb-14
CPW2                                                                                  4616                                                                                                                               506000         GARRITY                                       PATRICK                                            13-Feb-14
CPW5                                                                                  4616                                                                                                                               508000         KORMAN                                                                                           14-Feb-14
CPW5                                                                                  4616                                                                                                                               506000         NORFLET                                       GREGORY                                            14-
                                                                                      4616                                                                                                             01442331          507500         NORFLET                                       GREGORY                                            14-F
            '...................................    .;..........................
                                                                                      4616
                                                                                   j.............   .!...
                                                                                                                                                                                                       01442331          508000                                                       CHARLES
                                                                                                                                                                                                       01442331          506000         KNIGHTLY                                      CONNOR
                                                                                                                        :;..............................................................     :;      (
                                                                                                                                                                                                       01442331
                                                                                                                                                                                                              .
                                                                                                                                                                                                                         506000         DEROSE
                                                                                                                                                                                     765           45 01442331           506000         BEEM
                                                                                                                                                                                                                                        CHOINIERE............................... '.                              .

                                                                                                                                                                                                                                        CHOINIERE
                                                                                                                       21                                                       12                   6!01442331          507500         CHOINIERE
                                                                                                                     8.51                                                    382.5!                 45!01442331          506000
                                                                                                                    7.75                                                     10.93                1.41101442331          506000
                                                                                                                                                                                12                   6101442331          507500
                  Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 29 of 102

                                                                                                                                       18-Feb-14i
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                                                                                                                                                                   18-Feb-14j
                                                                                                                                       18-Feb-14                   18-Feb-14
                                                                                                                                       18-Feb-14                   18~Feb~i4i
                                                                                                                        ..             18-Feb-14                   18-Feb-14:
                                                                                                                                       18-Feb-14                   18-Feb-14
                                                  _, __ ..                   .        ....... _ ... ___._ ... EN                       18-Feb~i4[                  18~F~b~14'
                                                                                                                                        18-Feb-14 i                18-Feb-14 i
                                                                                                                                        18-Feb-14                  18-Feb-14 i
1::1   .... L;)                                     U.L ........ L.:J.:J.L           KORMAN                               --_ ...       18-Feb-14                  18-Feb-14
                                                                                     KORMAN ...........................,            +.. 18-Feb-14 '                18-Feb-14
                                                                                     KORMAN                                             18-Feb-14                  18-Feb-14
                                                                                     NORFLET                             GREGORY        18-Feb-14'                 19-Feb-14
                   __        _          _.__                                         NORFLET                             GREGORY        18-Feb-14i                 18-Feb-14
                                                                                                                         ROBERT        18~Feb-14;                  i8~Feb~i4i
                                                                                     .:>t'AULLJII'JlJ                  iROBERT         18-Feb-14                   18-Feb-14i
                                                                                             ~O                        ,GARY           18-Feb-14                   18-Feb-14!
                                                                                                                       GARY            18-Feb-14                   18-Feb-14!
                                                                                      _                                  GARY          18-Feb-14                   18-Feb-14
                                                                                                                         EDWARD        18-Feb-14i                  18-Feb-14!
                                                                                                                         EDWARD        i8~Feb-14i                  18-Feb~14"
                                                                                                                         EDWARD        18-Feb-14"
                                                                                                                                18-Feb-14
                                                                                                    IL~CJ\                             18-Feb-14!
                                                                                                                                18-Feb-14
                                                                                                    .CHARLES                           18-Feb-14!
                                                                                                                                18-Feb-14
                                                                                                           LES                         i8~Feb~i4r
                                                                                                                                18-Feb-14
                                                                                                            ES                         18-Feb-14
                                                                                                                                18-Feb-14
                                                                                                       TRICK    '~8~F~b-i4: 18-Feb-14
                                                                                 _   .._......._ __DEL         ·.. 26-Nov-14: . 27-Nov-14!
                                                                                                10  i EDEL26~Nov~i41 26-Nov-14
                                                  _, __ ..                           .._......._10  iEDEL          26-Nov-14    27-Nov-14!
                                                                                     BROWN                       KRIS                 26-Nov-14                    27-Nov-14
                                                                                     BROWN                      jKRIS                 26-Nov-14'                   26-Nov-14i
                                                                                     BROWN                       KRIS                 26-Nov-14                    27-Nov-14
                                                                                     DEROSE                      VINCENT              26-Nov-14                    27-Nov-14
                                                                                     GEBO                       'JAMES                26-Nov-14!                   27-Nov-14!
                                                                                                                                      26-Nov-14i                   27-Nov-14
                                                                                                                                      26-Nov-14                    26-Nov-14i
                                                                                                                                      26-Nov-14'                   26-Nov-14
                                                               Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 30 of 102

'CPW3           29258'C20               4616                    201          8                        13.2                      1.65 01442331                  506000 GRIMALDI                                              ANTHONY                             26-Nov-14.     26-Nov-14'
 CPW3           29258C20       .....
                                        4616                    759          3:                         24                            801442331                507500 GRIMALDI                                              ANTHONY                           , ...
                                                                                                                                                                                                                                                                26-Nov-14      26-Nov-14
:CPW3           29258 C20            ,
                                        4616                    200         12!                       540                         45 01442331                  506000 GRIMALDI                                              ANTHONY                             26-Nov-14      26-Nov-14
                                                                                                                                                                                                                          ,

'CPW5           29754'C23               4616                    200         13                        585                         45         01442331          506000                GUYER                                  KEVIN                               26-Nov-14      26-Nov-14
                    ...                                                                                                            ~.....
                                                                                                                                       ,                          .... ;
 CPW5           34448:C23            :4616                      200         16                        720:                        45: 01442331                 506000 ........ JANKIEWICZ                                   STEPHEN                             26-Nov-14      27-Nov-14
 CPW5           38155' C23                                      200         12                        540;                        45:01442331                  506000 KORMAN                                             JOSEPH                                 26-Nov-14      26-Nov-14
                              .14616 ,                                                                                                     .          ......
                                                                                                                                                        .



 CPW2           39475 ,C23           ,4616                      760          4                      24                                6:01442331               507500 LAROE                                              :GEORGE                                26-Nov-14      27-Nov-14
                                              ..............

 CPW2           39475:C23               4616 ..                 200     14.75'                 663.75                             45:01442331                  506000 LAROE                                                 GEORGE                              26-Nov-14      27-Nov-14
 CPW2           39475.C23               4616                    201          8                  11.28                           1.41;01442331                  506000 LAROE                                                 GEORGE                              26-Nov-14      26-Nov-14
                                                                                                     .........                                                                                    .............................                    ........ ;   .

 CPW1           54557<C23               4616                    200         14                    630                             45:01442331                  506000 OLLARI                                                JAMES                               26-Nov-14      27-Nov-14
                                       ......
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                54557C23             :4616                      201:1        7                   9.87.......... .............
                                                                                                                                1.41:01442331                  506000   ......
                                                                                                                                                                                     OLLARI         .................... ,.
                                                                                                                                                                                                                            JAMES                               26-Nov-14
                54557 C23           .4616                       7601,        4                      24                                601442331                507500 :OLLARI                                               JAMES                               26-Nov-14
                67658:C20              4616                     200          8                    360                             45 ,01442331                 506000 'SPAULDING                                            ROBERT            ....
                                                                                                                                                                                                                                                                26-Nov-14:
                                                                    1

   W3           67658 C20             4616                      201          8                  13.84                           1.73 01442331                  506000 SPAULDING                                             ROBERT                              26-Nov-14.
   W3           67658 C20             4616                      759,         2                      16:                               8101442331               507500 'SPAULDING                                            ROBERT                              26-Nov-14:     26-Nov-14
                                 . , ............                                                                                         . .      .                                                                                  ......................

 CPW3           67658 C20              4616                     822:         7                     7.7                           1.101442331                   508000 ISPAULDING                                            ROBERT                              26-Nov-14[     26-Nov-14
 CPW3           73044'C23                                       200         12                    540·                            45:01442331                  506000 VELOZO                                                GARY                                26-Nov-14      26-Nov-14
                                  .,.4616........                                                                                                                                                                                                                      .,
 CPW3 ;         73044C23            '4616                       201          4,                    6.6;                         1.65 '61442331                 506000 VELOZO                                                GARY                                26-Nov-14      26-Nov-14
 CPW3           73044,C23           :4616                       201          8                  13.84'                          1.73101442331                  506000 VELOZO                                                GARY                                26-Nov-14      26-Nov-14:
 CPW3 :         73044C23              4616                      759'         3                      24;                               8!01442331               507500 VELOZO                                                GARY                              . 26-Nov-14      26-Nov-14'
 CPW1.......    73949'COl             4616                      200         15.                   675:i                           4SI()1442331                 506000 WARD                                                  WILLIAM                             26-Nov-14      27-Nov-14
:CPW1           73949 COl             4616                      760          3                         18!                            6:01442331               507500 WARD                                                  WILLIAM                             26-Nov-14 i    27-Nov-14
 CPW1           75431C23              4616                      200:     12.5                       562.5:                        45 101442331                 506000 WILLIAMSON                                            EDDIE                               26-Nov-14      27-Nov-14
 CPW1           75431C23            '4616                       201:         6                       8.46:                      1.41:01442331                  506000 WILLIAMSON                                            EDDIE                               26-Nov-14,     26-Nov-14
·CPW1           75431: C23         :4616 ..                     760          3                         18'                            6!01442331               507500 WILLIAMSON                                            EDDIE                               26-Nov-14!     27-Nov-14.
;CPW5          105848.C03           '4616                       200        5.5                      247S                          45:01442331                  506000 CUNNINGHAM EDWARD                                                                         26-Nov-14:     26-Nov-14
;CPW5          105848'C03             4616                      822!       5.5                        4.57:                     0.83;01442331                  508000 CUNNINGHAM EDWARD                                                                         26-Nov-14:     26-Nov-14
                                                                                                                                   ..                                                                                                                 ......
                                                                                                                                                                                                                                                     •.....



,CPW5          105848'C03           ,4616                       823'       6.5                        5.72;                     0·~~i01442331                  508000 CUNNINGHAM EDWARD                                                                         26-Nov-14.     26-Nov-14
 CPW2          106521:C24           14616                       200.     12.5:                  562.5'                            45'01442331                  506000 MINEO                                              :LUCA                         ......
                                                                                                                                                                                                                                                                26-Nov-14,     27-Nov-14
'CPW1.. . .    106544[C01           :4616                       200:    13.251                 596.25;                            45:01442331                  506000
                                                                                                                                                                   .................
                                                                                                                                                                                     SELDIN                              :JACOB                                 26-Nov-14!     27-Nov-14
          ~




'CPW1          106544'COl         14616                         201          6,                   7.5'                          1.25;01442331                  506000 SELDIN                                                JACOB         ..............
                                                                                                                                                                                                                                                                26-Nov-14'     26-Nov-14
'CPW1          106544'COl         '4616                         760          1~   .                  6                             6101442331                  507500 SELDIN                                             'JACOB                                 26-Nov-14      26-Nov-14
                                                                                                                                            .............

.CPW5          107108,C03         ;4616                         200       5.5;                  247.51                            45.01442331                  506000 STEVENSON             .........................
                                                                                                                                                                                                                            CHARLES                             26-Nov-14;     26-Nov-14
 CPW5          107108'C03
                      "".~
                                  !4616                         822       5,S'        . ...   ~."
                                                                                                     4.57L                      0.83: 01442331                 508000 STEVENSON                                "            CHARLES                             26-Nov-14:Ii   26-Nov-14
 CPW5          107108:C03         14616                         823·        8:                       7.04'
                                                                                                        ..          ;
                                                                                                                                0.8801442331                   508000 'STEVENSON                                            CHARLES                             26-Nov-14      26-Nov-14
 CPW2          10775911<:24       i4616                         200'       14                         630                         45 01442331                  506000 GARRITY                                               PATRICK                             26-Nov-14Ii    27-Nov-14.
 CPW2          107991C24          14616                         200:     12.5                       562.5                         45 :01442331                 506000 KNIGHTLY                                              CONNOR                              26-Nov-14      27-Nov-14
              Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 31 of 102

                                                        506000
CPW1                                                    506000   BROWN
CPW3                                                    506000   CHOINIERE
CPW1                                                    506000   GEBO
CPW2                                                    506000   LAROE
CPW5                                                    506000   NORFLET
CPW1                                                    506000   OLLARI
                                                        506000
                                                        506000
                                                          7500
                                                                                        04-Jan-15
                                                        506000                EDEL      04-Jan-15
                                                        507500                EDEL      04-Jan-15
                                                        506000   BROWN        KRIS      04-Jan-15
                                                        506000   BROWN        KRIS      04-Jan-15
                                                        507500   BROWN        KRIS      04-Jan-15
                                                        506000   CHOINIERE    LEONARD   04-Jan-15
                                                        506000   CHOINIERE    LEONARD   04-Jan-15   04-Jan-15
       4616                                             507500   CHOINIERE    LEONARD   04-Jan-15   04-Jan-15
       4616                                             506000   DEROSE                 04-Jan-15   04-Jan-15
       4616                                             506000   GENTILE      ROBERT.               04-Jan-15
       4616                                             506000   GENTILE      ROBERT
       4616                                             507500   GENTILE      ROBERT                04-Jan-15
       4616                                             506000   GRIMALDI     ANTHONY               04-Jan-15
       4616                                             506000   GRIMALDI     ANTHONY               04-Jan-15
       4616                                             507500   GRIMALDI     ANTHONY               04-Jan-15
       4616                                             506000   GUYER        KEVIN                 04-Jan-15
       4616                                             507500   GUYER        KEVIN                 04-Jan-15
       4616                                             506000   GUYER        KEVIN                 04-Jan-15
       4616                                             506000      KIEWICZ   STEPHEN               04-Jan-15
       4616                                             506000                                      04-Jan-15
                                                        507500                                      04-Jan-15
                                                        506000                                      04-Jan-15
                                                        506000                                      04-Jan-15
                                                        506000                GEORGE                04-Jan-15
                                                        507500                GEORGE                04-Jan-15
                                                        508000                GEORGE    04-Jan-15   04-Jan-15
Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 32 of 102

                                                               GREGORY         04-Jan-15
                                                               GREGORY                     04-Jan-15
                                                               JAMES                       04-Jan-15
                                                                  ItS                      04-Jan-15i
                                                                  ES                       04-Jan-15
                                                               ROBERT                      04-Jan-15
                                                               GARY _                      04-Jan-15
                                                               WILLIAM                     05-Jan-15
                                                               WILLIAM                     04-Jan-15
                                                               WILLIAM                     04-Jan-15
                                                  WILLIAMSON   EDDIE                       04-Jan-15
                                                  WILLIAMSON   EDDIE           04-Jan-15   04-Jan-15
                                                  WILLIAMSON   EDDIE           04-Jan-15   04-Jan-15
                                                  CUNNINGHAM   EDWARD          04-Jan-15   04-Jan-15
                                                    NNINGHAM   EDWARD          04-Jan-15   04-Jan-15
                                                       N                       04-Jan-15   05-Jan-15
                                                                               04-Jan-15   04-Jan-15

                                                                                           04-Jan-15
                                                                                           04-Jan-15
                                                                                           05-Jan-15
                                                                                           05-Jan-15
                                                                                           05-J
                                                               EDEL·                       24
                                                               EDEL                        24-Jan-15
                                                               EDEL                        24-Jan-15
                                                  BROWN        KRIS                        24-Jan-15
                                                  BROWN        KRIS                        24-Jan-15
                                                  BROWN        KRIS                        24-Jan-15
                                                  CHOINIERE    LEONARD     7               24-Jan-15
                                                  DEROSE                                   24-Jan-15
                                                  GEBO                                     24-Jan-15
                                                  GEBO                                     24-Jan-15
                                                   EBO                ES                   24-Jan-15
                                                  GENTILE      ROBER"P                     24-Jan-15
                                                  GENTILE      ROBERT                      24-Jan-15
                                                  GRIMALDI     ANTHOI\IY                   24-Jan-15
                                                                                         Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 33 of 102

:CPW5                          I'          29754'C23               ;4616                      200    ,     9.75 .' .................   438.75:                           45:01442331 506000 GUYER                                                                   KEVIN·                              24-Jan-15'
                                                                                                                                                                                                                                                                                                        24-Jan-15
                                                                                                                                                                                                                                                                                                                             24-Jan-15
                                                                                                                                                                                                                                                                                                                             24-Jan-15
.CPW5                          .'          29754C23                :4616                      201          2.75                             3.88
                                                                                                                                         ...........................
                                                                                                                                           .,
                                                                                                                                                                       1.41191442331 506000 GUYER                                                                'KEVIN
;CPW5                                      29754C23                A616...........            760             2                                    12                        6'01442331 507500 GUYER                                              . ..........
                                                                                                                                                                                                                                                                    KEVIN                               24-Jan-15            24-Jan-15
·CPW5                                      34448 C23                4616                      200          9.75                        438.75'                           45 :01442331 , . .. ..
                                                                                                                                                                                          ~   ~
                                                                                                                                                                                                 506000 JANKIEWICZ
                                                                                                                                                                                                  ,
                                                                                                                                                                                                                                                                   STEPHEN                              24-Jan-15            24-Jan-15
,CPW5                                      34448 C23               '4616                      201           3.5                            4.94                        1.41:01442331
                                                                                                                                                                             ..... ,         ...
                                                                                                                                                                                                 506000                       JANKIEWICZ               . ...
                                                                                                                                                                                                                                                                   STEPHEN                              24-Jan-15'           24-Jan-15
                                                                                                                i············
II~PW5                                     34448 C23                4616                      760;            2'                                   12                        6'01442331 '507500      ...................... :
                                                                                                                                                                                                                              JANKIEWICZ          .........
                                                                                                                                                                                                                                                                   STEPHEN                              24-Jan-15            24-Jan-15
:CPW5                                      38155 ;C23               4616.......               200,           11                               495'                       45:01442331 506000 KORMAN                                                                 JOSEPH                               24-Jan-15            24-Jan-15
                                                                                     , ....

:CPW5                                      38155             C23   :4616                      201             4 ' ...                       5.64                       1.41:01442331             506000 KORMAN                                                     JOSEPH                               24-Jan-15            24-Jan-15
                                              ..............                                                                                                                      ,: ..               .,                                             .......



 CPW5                                      53052 C24               A616                       200          9.75,                       438.75                            45'01442331 506000 NORFLET                                                              ,. GREGORY                             24-Jan-15.,          24-Jan-15
 CPW5                                      53052 ;C24               4616                      201:            4                                  6.6                   1.65101442331 506000 NORFLET                                                                GREGORY                              24-Jan-15            24-Jan-15
iCPWl                                      54557C23                 4616                      200         10.25                        461.25.                           45:01442331 506000 OLLARI                                                                 JAMES                                24-Jan-15            24-Jan-15
                                                                   A616                       201          4.25                             5.99                       1.41]01442331 506000 OLLARI                                                               JAMES                                  24-Jan-15            24-Jan-15
iCPWl ........                             54557!C203                                                                                                                                                                                        ............. ..                            . .... .

iCPWl                                      54557C23                   4616                    760             2                                    12                        601442331 507500 OLLARI                                                               JAMES                                24-Jan-15            24-Jan-15
iCPW3                                      67658';(29                 4616
                                                                                                ......

                                                                                              200             9                               405                        45 01442331             506000                       SPAULDING
                                                                                                                                                                                                                                                  ............ .......

                                                                                                                                                                                                                                                                    ROBERT                              24-Jan-15
                                                                                                                                                                                                                                                                                                                         •   24-Jan-15
                                                                                                                                        12.38'                         1.65 01442331 506000 .SPAULDING                                                              ROBERT
                                                                                                                                                                                                                                                                                    ........... , .

                                                                                                                                                                                                                                                                                                        24-Jan-15
                                                                                                                                                                                                                                                                                                                         •   24-Jan-15
.CPW3
'.                               ......
                                           67658,C20                  4616                    201'          7.5                                                                                                         ,   , .. ..

'CPWl                                      73949 COl                  4616                    760             2:                                   12                        6;01442331 507500 'WARD                                                               WILLIAM          .....
                                                                                                                                                                                                                                                                                                        24-Jan-15.           24-Jan-15
ICPWl                                      7394911c01                 4616                    200,           10                               450                        45:01442331 506000 :WARD                                                                  WILLIAM                              24-Jan-15            24-Jan-15
'CPWl                                      73949  COl                 4616         201'                       4                                         5:             1.25:01442331 506000!\NARD                                                                  WILLIAM    .........................
                                                                                                                                                                                                                                                                                                        24-Jan-15            24-Jan-15
   .............................               ..

'CPWl                                      75431'C23               ,4616           200'                    10.5                            472.5:                        4ST01442331 506000 ... iVVILLlAMSON                                                        EDDIE                               24-Jan-15'           24-Jan-15
'CPWl ...                                  75431,C23               '4616           201'                     4.5'                            5.631                      1.25101442331 506000 iWILLIAMSON                                                             EDDIE                               24-Jan-15:           24-Jan-15
                                                                                                                                                                                                                                                                                                        24-Jan-15            24-Jan-15
I~~~t
                                           75431  C23              '.4616          760'                       2'                                     12:                     6;01442331 507500 WILLIAMSON                                                           EDDIE
                                              .'.
  CPW5                                    105848, C03              .4616           761                        2                              10                              501442331 507500 CUNNINGHAM EDWARD                                                                                         24-Jan-15            24-Jan-15
                                                                                                                                          .......... , ....

,CPW5                                     105848 C03                  4616         821.                    10.5                         15.75                           1.5 01442331 508000 CUNNINGHAM ..... EDWARD                                                                                     24-Jan-15            24-Jan-15
,CPW5                                     105848 C03                  4616         200,                    10.5                         472.5:                           45101442331 506000 .CUNNINGHAM EDWARD                                                                                          24-Jan-15            24-Jan-15
                                                                                                                                                                              "


:CPW2                                     106521 C24                  4616         200:                   10.75:                       483.75                            45101442331 506000lMINEO                                                                   LUCA                                24-Jan-15            24-Jan-15
'CPWl                                     106544 COl               '4616           200:                    9.75                        438.751                           45101442331 506000 iSELDIN                                                                JACOB                                24-Jan-15
                                                                                                                                                                                                                                                                                                                ........
                                                                                                                                                                                                                                                                                                                             24-Jan-15
 .....                                                                                                                                                                                                                                                       j

:CPWl                                     106544' COl                 4616         201                     3.75                          4.69                          1.25101442331 506000 'SELDIN                                                              'JACOB                                 24-Jan-15            24-Jan-15
!CPWl                                     106544 COl                  4616         760;                       2                                      12                      6101442331 507500 'SELDIN                                                             JACOB                                24-Jan-15            24-Jan-15
iCPW5                                     107108 C03                  4616         200                     10.5                         472.51                           45,01442331 506000 !STEVENSON                                                             CHARLES                              24-Jan-15            24-Jan-15
                                                                                                                                                                         ... +
'CPW5                                     107108' C03                 4616         821                     10.5                          9.241                         0.88:01442331             508000                     :STEVENSON                             CHARLES                              24-Jan-15            24-Jan-15
                                                                    ..............

 CPW5                                     107108,C03                               822,'
                                                                      4616 ............                     3.5                           2.91:                        0.83 01442331 508000 [STEVENSON                              -, ..
                                                                                                                                                                                                                                                                   CHARLES                              24-Jan-15            24-Jan-15
                                                                                                                      ""   .~.   ,-,                                                                                            ~




!CPW2                                     107991C24                14616 .         200,                      10'                         '450:                           45i01442331
                                                                                                                                                                          ..                     506000                       KNIGHTLY                     .....
                                                                                                                                                                                                                                                                   CONNOR'                              24-Jan-15            24-Jan-15
'CPWl                                        822,C23               '4616           866                        8                              4                          0.5101442331 508000 ALVARADO                                                                EDEL                                26-Jan-15            26-Jan-15
.CPWl                                        822 C23                  4616         200:'                  11.25                        506.25                            45 01442331 506000 ., ALVARADO                             ........
                                                                                                                                                                                                                                                                    EDEL'                               26-Jan-15            27-Jan-15
                                                  C23                 4616         201                     8.25                         12.38'                          1.5:01442331 506000 ALVARADO                                                                EDEL                        ....... 26-Jan-15.....
                                                                                                                                                                                                                                                                                                                             27-Jan-15
                                                  C23                 4616         200               11
                                                                                                              8                           360                            45:01442331 506000 BROWN                                                     ......
                                                                                                                                                                                                                                                                    KR,IS                               26-Jan-15            27-Jan-15
                                                                                                                                                                                                                                                                                                                                 . ..
                                                  C23                 4616         201,                       8                         10.56·                         1.32101442331 506000 i BROWN                                                                 KRIS                                26-Jan-15'           27-Jan-15
                                                             Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 34 of 102
."              ",        ,   .. ,   ,.,.


iCPW2
 CPW1
 CPW1
 CPW5
 CPW5                                           34448'C23
 CPW5                                           38155C23
 CPW5                                           53052,:C24
 CPW5                                           53052:C24
 CPW5                                           53652lc24
 CPW5                                           53652rC24
 CPW1... ,                                      54551'C23
                                                 .

                                                54557'C23
                              3
 CPW3
'CPW3
fep
'CPW3
lCPWl
'CPW1
'CPW1
'CPW1
iCPW5
'CPW2
,CPW1
,CPW1
'CPW1
 ,   . .,        ,.--."              ,      .

'CPW5
'CPW2
!CPW2
CPW1
iCPWl
'CPW1
'   .  ,,,


iCPW3
'-.         "                               ,


lCPW3
lepw3
  PW5
,CPW5                                                                                                                              27-Jan-15
               Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 35 of 102

                                                                                       27-Jan-1S[   27-Jan-1S
                                                                                       27-Jan-1Si   27-Jan-1S
                                                                                       27-Jan-1S'   27-Jan-1S
                                                                                       27-Jan-1S'   27-Jan-1S'
                                                                 GENTILE     ROBERT    27-Jan-1S    27-Jan-1S'
                                                                 GRIMALDI              27-Jan-1S    27-Jan-1S,
                                                                 GRIMALDI              27-Jan-1S    27-Jan-1S'
                                                                 GRIMALDI              27-Jan-1S    27-Jan-1S:
CPW3                                                             GRIMALDI              27-Jan-1S    27-Jan-1Si
CPWS                                                             GUYER                 27-Jan-1S    27-Jan-1S:
CPWS                                                             GUYER                 27-Jan-1S    27-Jan-1S:
CPWS                                                             GUYER                 27-Jan-1S    27-Jan-1S
CPWS                                                                                   27-Jan-1S    27-Jan-1S
CPWS                                                                                   27-Jan-1S    27-Jan-1S
CPWS                                                                                   27-Jan-1Sl   27-Jan-1S
CPWS                                                                                   27-Jan-1S    27-Jan-1S
   S                                                                                   27-Jan-1S    27-Jan-1S
   1                                                                                   27-Jan-1S'   27-Jan-1S
    1                                                                                  27-Jan-1S'   27-Jan-1S
'CPW3                                                                        GARY      27-Jan-1Sl   27-Jan-1S
!CPW3                                                                        GARY      27-Jan-1S:   27-Jan-1S
 CPWl                                                                        WILLIAM   27-Jan-1S,   27-Jan-1S
 CPWl                                                                        WILLIAM   27-Jan-1S'   27-Jan-15
 CPWl                                                                        EDDIE:    27-Jan-15
 CPWl                                                                        EDDIE                  27-Jan-1S
 CPWS                                                                        EDWARD                 27-Jan-1S
CPW5                                                                         EDWARD                 27-Jan-15
CPWl                                                                                                27-Jan-1S
CPWl                                                                                                27-Jan-15
CPWl                                                                                                27-Jan-15
        4616                                                                 CHARLES                27-Jan-1S
        4616                                                                 CHARLES                27-Jan-1S
        4616                                                                 EDEL                   01-Feb-15
        4616                                    01442331                     EDEL                   01-Feb-1S
        4616                                 1.5 01442331                    EDEL                   01-Feb-15
        4616                                    01442331                     EDEL                   01-Feb-15
        4616                                 0.5 01442331                    EDEL                   01-Feb-1S
                                                                           Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 36 of 102

 CPWl                    7733 C23                4616                               2001                   17.5                                       7878               45,01442331 '506000 BROWN                             KRIS                                 01-Feb-15             01-Feb-15
                                                  .......... ;.
                                                         ............ ;,

:CPWl                    7733 C23              '4616                                201                     7.5                                       1(l.58 1         1.41:01442331 506000 BROWN                              KRIS                                 01-Feb-15             01-Feb-15
jcpwl                    7733C23              ,4616                                 201:                      2.                                             31         1.5101442331 506000 BROWN                              KRIS                                 01-Feb-15             01-Feb-15
ICPWl                    7733;C23                4616                               760                       4:                                        24'..                 fjJ01442331 507500 BROWN                         KRIS                                 01-Feb-15             01-Feb-15
jCPW3                  11636 SOlS                4616                               201                     7.5                                      10.58;            1.41101442331 506000 CHOINIERE                          LEONARD                              01-Feb-15 ........
                                                                                                                                                                                                                                                                                          01-Feb-15
jCPW3                  11636C01S ·4616 .'                                           760                       2                                         12                   6'01442331 507500 CHOINIERE                   ,LEONARD              ..... ;.
                                                                                                                                                                                                                                                                    01-Feb-15             01-Feb-15
 CPW3                  11636:C01S ,4616                                             816                       3                                             3                 101442331 508000 CHOINIERE                       LEONARD                              01-Feb-15             01-Feb-15
,CPW3                  116361C01S ;4616.............. '                             200                    9.75                                     438.75               45 01442331 506000 CHOINIERE                          LEONARD                              01-Feb-15             01-Feb-15
                                                                           ..

.CPW2             I:   17756'C24                 4616                               200                      11                                        495               45 101442331 506000 DEROSE                            VINCENT         ....... :
                                                                                                                                                                                                                                                                    01-Feb-15    .....
                                                                                                                                                                                                                                                                                          01-Feb-15
                                .. ; .....                                                                                                               . .........

!CPW5             :    21462 C23                 4616                               200                    5.75                                     258.75               45 01442331 506000 ELLARD                             CLIFFORD                             01-Feb-15             01-Feb-15
                                               •........                                                                                                                                                                                                ;.
jCPW5                  21462 C23                 4616                               201                    2.75                                       3.88             1.41 01442331 506000 ELLARD                             CLIFFORD                             01-Feb-15.....
                                                                                                                                                                                                                                                                                          01-
                                                                                                                                  .....                                                                                     ;.
              I
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ICPW5                  21462' C23                4616                               760                       2                                         12                   601442331 507500 ELLARD                           CLIFFORD      ..
                                                                                                                                                                                                                                                                    01-Feb-15             01-F
 CPW5             i    21462 C23                 4616                               816                       3                                             3                101442331 508000 .... ELLARD                      CLIFFORD                             01-Feb-15             01-Feb-15
ICPWl        J         26735          C20        4616                               200                    19.5.                                     877.5               45 01442331 506000 .... GEBO                         JAMES                                 01-Feb-15             01-Feb-15
iCPWl             .
                           ........

                       26735 C20                 4616                               201,             ."       8                                       13.2             1.65 01442331 506000 GEBO                              JAMES                                 01-Feb-l.s1           01-Feb-15
 CPWl                  26735. C20                4616..........                     201                     3.5                                       6.06             1.73 01442331 506000 GEBO                              JAMES                                 01-Feb-15'            01-Feb-15
                                                                                                                                                                                                                                                        ,"                     ........




ICPWl                  26735 C20                 4616                               759                       41                                        32                   801442331 507500 IGEBO                           JAMES                                 01-Feb-15             01-Feb-15
ICPW3                  26908 C23                 4616                               200                      111                                       495               45:01442331 506000 IGENTILE                           ROBERT                               01-Feb-15             01-Feb-l
,CPW3                  26908          C23        4616                               201'                      2                                       3.46             1.73'101442331 506000 'GENTILE                          ROBERT                               01-Feb-15             01-Feb-15
        .......                            .. ;. .                                                                                                                                                                                                                            .......




 CPW3                  26908 C23                 4616                               759:                      3                                         24                   8101442331........ 507500 GENTILE                 ROBERT                    ..........
                                                                                                                                                                                                                                                                    01-Feb-15             01-Feb-15
                                             .......

                                              '4616                                 815'                      7                                       6.58             0.94101442331 508000 GENTILE                            ROBERT     ..........
                                                                                                                                                                                                                                                                    01-Feb-15             01-Feb-15
                                                                                     .;
                                                 4616                               200'                     16                                        720               45 01442331 506000 GRIMALDI                           ANTHONY                              01-Feb-15
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                                                 4616                               201,                      8                                       13.2             1.65 01442331 506000 GRIMALDI                           ANTHONY                              01-Feb-15,.
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                                                 4616                               759 1                     4,                                        32                   8:01442331 507500 GRIMALDI                        ANTHONY                              01-Feb-15             01-Feb-15
                                                 4616                               816                         3                                           3                101442331 508000 GUYER                            KEVIN            .......
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                                                 4616                               200                        11                                      495               45 :01442331 506000 'GUYER              ......... ; .
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                                                 4616                               201,                        8                                    11.28             1.41 01442331 506000 'GUYER                 ........ ,
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 CPW5                  34448 C23                 4616                               200,                  10.25:                                    461.25               45 01442331 506000 !JANKIEWICZ                        STEPHEN                              01-Feb-15   ......
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 CPW5                  34448 C23                4616                                201                         8                                    11.28             1.41 01442331 506000 :JANKIEWICZ                        STEPHEN         .......
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 CPW5                  34448 C23                 4616                               7601                        2                         ~   ,.,
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 CPW5                  34448 'C23                4616                               816.                        3                                           3                1 01442331 508000 !JANKIEWICZ                     STEPHEN                              01-Feb-15             01-Feb-15
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:CPW5                  38155 C23                4616                                760.                        2,                                      12                   6:01442331 507500 'KORMAN                        JOSEPH                                01-Feb-15             01-Feb-15
 CPW5                  38155 C23 ..........•4616                                    816:                       3.
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 CPW5                  38155 C23                 4616                               200                       11                                       495               45 01442331.... 506000 KORMAN                         JOSEPH                   ,
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 CPW5                  38155 C23                 4616                               201:                       8                                     11.28             1.41 01442331 506000 KORMAN                         'JOSEPH            ...... :
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       Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 37 of 102

                                                             NORFLET                             01-Feb-15
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CPW1                                                506000   OLLARI                              01-Feb-15
CPW1                                                507500   OLLARI                              01-Feb-15
CPW3                                                506000                                       01-Feb-15
CPW3                                                506000                                       01-Feb-15
CPW1                                                506000                                       01-Feb-15
CPW1                                                506000                                       01-Feb-15
CPW1                                1.73 01442331   506000                                       01-Feb-15
                                                    507500                WILLIAM                01-Feb-15
                                                    506000                EDDIE                  01-Feb-15
                                                    506000                EDDIE                  01-Feb-15
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                                                    508000   CUNNINGHAM   EDWARD                 01-Feb-15
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                                                    506000   MINEO        LUCA,      01-Feb-15   01-Feb-15
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                                                                VENSON    CHARLES'   01-Feb-15   01-Feb-15
                                                               EVENSON    CHARLES                01-Feb-15
                                                              TEVENSON    CHARLES
                                                             STEVENSON    CHARLES
                                                             GARRITY      PATRICK,
                                                             KNIGHTLY     CONNOR
                                                             GRIMALDI
                                                             ALVARADO
                                                             ALVARADO
                                                             ALVARADO
         Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 38 of 102

                                                                       EDEL      09-Feb-15   09-Feb-15
                                                           BROWN       KRIS                  09-Feb-15
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                                                           BROWN       KRIS                  09-Feb-15
                                                           BROWN       KRIS                  09-Feb-15
CPW3                                                       CHOINIERE   LEONARD               09-Feb-15;
CPW3                                                       CHOINIERE   LEONARD               09-Feb-15
CPW3                                                       CHOINIERE   LEONARD               09-Feb-15
CPW3                                                       CHOINIERE   LEONARD               09-Feb-15
CPW2                                                       DEROSE                            09-Feb-15
CPWl                                                       GEBO                              09-Feb-15
CPWl                                                       GEBO                              09-Feb-15
CPWl                                                       GEBO                              09-Feb-15
CPWl                                                       GEBO                              09-Feb-15
CPW3                                                       GRIMALDI                          09-Feb-15
                                                           GRIMALDI                          09-Feb-15
                                                           GRIMALDI                          09-Feb-15
                                                           GUYER                 09-Feb-15   09-Feb-15
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 CPW5                                                      GUYER                 09-Feb-15   09-Feb-15:
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:CPW3                                                                                                                                                                                              ___ 01442331 ,:                                                                                                                                                09-Feb-15
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!CPW3                                                                                                                                                                                                   01442331
!cpwi"                                                                                                                                                                                                _ 01442331                                                                                                                                                  09-Feb-15 ..................................... ,
'CPWl                                                                                                                                                                                                   01442331                                                                                      ILLIAM                                                      09-Feb-15
'CPWl                                                                                                                                                                                              1.73 014423                                                                                      WILLIAM                                                       09-Feb-15
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                                                                                                                                                                                                            01442331                                                                               'EDDIE                                                         09-Feb-15
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 CPW2                                                                                                                                                                                                                                                                                                  UCA
 CPWl                                                                                                                                                                                                                                                                                                       B
 CPWl                                                                                                                                                                                                                                                                                              JACOB
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       Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 40 of 102

CPW5                                 1.5 01442331   506000   ELLARD       LLlH-UKLJ               15-Feb-15
CPW5                                                507500   ELLARD       CLIFFORD                15-Feb-15
CPW1                                                506000   GEBO             ES                  15-Feb-15
CPW1                                                506000   GEBO             ES                  15-Feb-15
CPW1                                                507500   GEBO             ES                  15-Feb-15
CPW3                                                506000   GENTILE      ROBERT                  15-Feb-15
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                                                                          KEVIN       15-Feb-15   15-Feb-15
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CPW5                                                         GUnK         KEVIN       15-Feb-15   15-Feb-15
CPW5                                                            KIEWICZ   STEPHEN                 15-Feb-15
CPW5                                                              EWICZ   STEPHEN                 15-Feb-15
CPW5                                                            KIEWICZ   STEPHEN     15-Feb-15   15-Feb-15
CPW5                                                         KORMAN                   15-Feb-15   15-Feb-15
CPW5                                                         KORMAN                   15-Feb-15   15-Feb-15
CPW5                                                         KORMAN                   15-Feb-15   15-Feb-15
                                                             NORFLET                  15-Feb-15   15-Feb-15,
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                                                             SPAULDING                            15-Feb-15
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CPW1                                                                                              15-Feb-15
CPWl
CPWl                                                                                              15-Feb-15
CPWl                                                                                              15-Feb-15
CPWl                                                                                              15-Feb-15
CPW1                                                                                              15-Feb-15
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CPW5                                                                                              15-Feb-15
CPW5                                                                                              15-Feb-15
CPW5                                                                                              15-Feb-15
       Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 41 of 102

CPW2                                                                             1S-Feb-1S   20-Feb-1S
CPW1                                                                             1S-Feb-15   1S-Feb-1S
CPW1                                                                             1S-Feb-1S   1S-Feb-IS
CPW1                                                                             1S-Feb-1S   1S-Feb-1S
CPWS                                                                   CHARLES               1S-Feb-1S
CPWS                                                                   CHARLES               1S-Feb-1S
CPW5                                                                   CHARLES   15-Feb-1S   15-Feb-15
CPW5                                             508000                CHARLES   15-Feb-1S   15-Feb-1S
CPW2                                             506000                CONNOR    15-Feb-1S   20-Feb-15
CPW1                                             506000                EDEL      22-Feb-15   22-Feb-15
                                                 506000                EDEL      22-Feb-15
                                                 507500                EDEL      22-Feb-15   22-Feb-15
                                                 506000   BROWN        KRIS      22-Feb-15   22-Feb-15
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CPWI                                             506000   GEBO            ES     22-Feb-1S   22-Feb-15
CPWl                                             507500   GEBO            ES     22-Feb-15   22-Feb-1S
CPW3                                             507500   GENTILE      ROBERT    22-Feb-15   22-Feb-15
CPW3                                             506000   GENTILE      ROBERT                22-Feb-15
CPW3                                             506000   GENTILE      ROBERT                22-Feb-15
CPW3                                             506000   GRIMALDI     ANTHONY               22-Feb-15
CPW5                                             506000   GUYER        KEVIN                 22-Feb-15
                                                 506000   GUYER        KEVIN                 22-Feb-15
                                                 507500   GUYER        KEVIN                 22-Feb-1S
                                                 506000      KIEWICZ   STEPHEN               22-Feb-15
                                                 506000      KIEWICZ   STEPHEN               22-Feb-1S
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                                                 506000   KORMAN                             22-Feb-15
                                                 506000   KORMAN                 22-Feb-15   22-Feb-15
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 CPW5                         53052:C24                                       .4616            823                  5.5            6.33:    1.15 01442331 508000 NORFLET                                                    GREGORY      22-Feb-15     22-Feb-15
 CPWl                         54557C23                                        }4616            200                   12             540       4501442331 506000 OLLARI                                                     JAMES         22-Feb-15     22-Feb-15
:Cf)\A/1                      54557  ......... c
                                                C23                            4616            201
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I~PWl                         54557 ,C23 ........ 4616                                         760·                   3:              18       6101442331 507500 :OLLARI                                                   JAMES        22-Feb-15 i   22-Feb-15
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:CPW3                         67658C20                                         4616            200:                 9               405       45:01442331 506000 SPAULDING                                                  ROBERT      22-Feb-15:    22-Feb-15
:CPW3                         67658i:C20                                       4616            823:                 7              8.05:    1.15'01442331..... 508000 SPAULDING                                             ROBERT      22-Feb-15     22-Feb-15
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:CPW3                         73044,C23                                        4616            200:                 7               315:      45:01442331 506000 VELOZO                                                ,GARY            22-Feb-15     22-Feb-15
 CPWl                         73949 COl                                        4616            200:              10.5             472.5       45'01442331 506000 WARD                                                       WILLIAM     22-Feb-15     22-Feb-15
                              73949,COl                                                                           5.5              9.52:    1.73;01442331 506000 WARD                                                      WILLIAM      22-Feb-15     22-Feb-15
'CPWl                                                                         ,4616            201'
 CPWl.............            73949,COl . 4616                                                 759                  2'                16:      8101442331 507500 WARD                                                       WILLIAM     22-Feb-15     22-Feb-15
 CPWl                         75431'C23                                        4616 ..... ,    200'                10               450:      45:01442331 506000 WILLIAMSON                                                 EDDIE       22-Feb-15     22-Feb-15
,CPWl                         75431 'C23                                      ·4616            201:                 5:               7.5;    1.5101442331              506000                WILLIAMSON                 ..EDDIE         22-Feb-15     22-Feb-15
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 CPWl                         75431 C23                                        4616            760                  2:                12:      6:91442331 507500 WILLIAMSON                                                 EDDIE       22-Feb-15     22-Feb-15
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 CPW5                        105848'C03                                        4616            821               11.51            10.12'    0.88:01442331              508000                CUNNINGHAM                     EDWARD      22-Feb-15     22-Feb-15
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'CPW5                        105848 'C03                                      .4616            823                     7           6.16     0.88101442331 508000 CUNNINGHAM EDWARD                                                      22-Feb-15     22-Feb-15
                                               .'                                              200                11.5            51705'      45:01442331 506000 CUNNINGHAM 'EDWARD                                                     22-Feb-15     22-Feb-15
 CPW5                        105848'C03                                       14616
'CPW5                        105848'. C03                                     ;4616            761                   3                15:      5:01442331 507500 CUNNINGHAM EDWARD                                                      22-Feb-15     22-Feb-15
 CPW2                        106521C24                                         4616            200 .........      10.5            472.5       45 :01442331 506000 'MINEO                                                    LUCA        22-Feb-15     22-Feb-15
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                             106544 COl                                       .4616            200                   9              405       45:01442331'506000 'SELDIN                                                   JACOB
 CPWl                        106544             COl                            4616            201                 4.5             7.79     1.73:'01442331 '506000 iSELDIN                                                 JACOB
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 CPWl                i'      106544 COl                                        4616            759                   2                16,      8101442331 507500 'SELDIN                                                   JACOB        22-Feb-15     22-Feb-15
 CPW5                        107108:C03                                       :4616            200. ..              11              495:      45: 01442331 5060001isTEVENSON                                                CHARLES     22-Feb-15     22-Feb-15
                              07108;(03                                       :4616            761                   2;               10:      5101442331 507500 STEVENSON                                                  CHARLES     22-Feb-15     22-Feb-15,
.CPW5 I                      107108:C03 .. ;4616                                               821                  11             9.681    0.88:01442331 508000 STEVENSON                                                  CHARLES
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  CPW5                       107108C03                                        14616            823                   7:            6.16L    0.88:01442331 508000 STEVENSON                                                  CHARLES     22-Feb-15     22-Feb-15
  CPW2                       107759'C24                                       .4616            200,                 12              540;      45101442331 506000 GARRITY                                                    PATRICK     22-Feb-15     22-Feb-15
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  CPW2                       107991C24                                        14616            200                  101             450'      45:01442331 506000 KNIGHTLY                               ..............
                                                                                                                                                                                                                            CONNOR      22-Feb-15     22-Feb-15
  CPW3                        29258C20                                        4616             200':                 1:              45 1     45'01442331              ?9§000                GRIMALDI                      ANTHONY      01-Mar-15     01-Mar-15
                                                                                                                                                   "      .....
:CPW3                         29258C20                                         4616            8231                  71            8.051    1.15101442331
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                                                                                                                                                                       508000 GRIMALDI                                 ,ANTHONY         01-Mar-15.    01-Mar-15.
                                                                                               200:                                 540.      45101442331 506000 NORFLET                                                    GREGORY     01-Mar-15     01-Mar-15
,'CPW5                        53052i:C24                                       4616                                  12'
  CPW5 ......                 53052C24                                         4616            759                    3'             24;       ~J0144233~ 507500 NORFLET                                               :GREGORY         01-Mar-15.    01-Mar-15
  CPW5                       107108C03                                         4616            761                    L               51       5i01442331 507500 STEVENSON                                                  CHARLES     01-Mar-15     01-Mar-15
  CPWl                          822C23                                         4616            200,                 6.5:          292.5:      45 101442331 50 6000ij\LYi\RA DC)                                             EDEL        02-Mar-15     02-Mar-15
 ,CPWl                          822k23                                        '4616            201               5.7s!             7.59     1.32 01442331 506000 ,ALVARADO                                                  EDEL        02-Mar-15'    02-Mar-15
:CPWl                           822 C23                                        4616            7601                 1                 6        6:01442331 507500 'ALVARADO                                                  EDEL        02-Mar-15     02-Mar-15
 CPWl                           822 C23                                       .4616            866::             8.75              4.38      0.5:01442331 508000 ALVARADO                                                   EDEL        02-Mar-15'    02-Mar-15 1
 CPWl                          7733C23                                        :4616            200:                 7               3151      45;01442331 506000 BROWN                                                      KRIS        02-Mar-15     02-Mar-15
                                    Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 43 of 102

                                                                                    506000   BROWN                                                              KRIS                                      02-Mar-15
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                                                           _. _    ._ 01442331      506000   CHOINIERE                                                          LEONARD
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                                                                                     07500   CHOINIERE                                                          LEONARD                                   02-Mar-15
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CPW5         __ . _ .       _                                                                                                  ....................... )
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CPW5                            _                                                                                                                        STEPHEN                                          02-Mar-15
CPW5                                                                                                                                                                                                      02-Mar-15
CPW5                                                                 -- .. ----     ------                    _.-._-                                            _._.                                      02-Mar-15
CPW5                                                                                                                                                                                                      02-Mar-15
CPW5                                                                                                                                                                                                      02-Mar-1 r:::
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CPW5
CPW1.   ..              }   .



CPW1




'CPW1
 CPW1                                                                                                                                                             LLIAM
 CPW1                                                                                                                                                           EDDIE
 CPW1                                                                                                                                                           EDDIE
 CPW1                                                                                          LLIAMSON                                                         EDDIE
 CPW5                                                                                        CUNNINGHAM                                                         EDWARD.......................             }                      .

 CPW5                                                                                        CUNNINGHAM                                                         EDWARD                                             m ~A..,~'
 CPW5                                                                                        CUNNINGHAM                                                         EDWARD
 CPW2                                                                                        MINEO                                                              LUCA ................................... : .02-Mar-
 CPW1                                                                                                                                                                                                              02-Mar-15
                                                                                                                                                                       ...................................•.....................

 CPW1                                                                                                                                                                                                              02-Mar-15
 CPW1                                                                                                                                                                                                              02-Mar-15
                                                              Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 44 of 102

 CPW1      106544'C01                                     4616      201' ...    .~
                                                                                        5;                    8.65                           1.73:01442331 506000
                                                                                                                                          . .......-..>
                                                                                                                                                                                                        [SELDIN                                  JACOB                        ! 02-Mar-15 , 02-Mar-15
'CPW5      107108C03                                      4616      200               6.5'                   2925,                                 45 101442331 506000                                    STEVENSON                               CHARLES                     . 02-Mar-15                              02-Mar-15
 CPW5      107108.C03                                     4616      823                 7                     6. 161                        0.88161442331 508000                                         STEVENSON                                CHARLES           .......... ........
                                                                                                                                                                                                                                                                                        02-Mar-15                      02-Mar-15
)CPW2      107759 C24                                     4616      200                14                      630                                 45 01442331.......... .506000                         GARRITY                                  PATRICK                               02-Mar-15                      06-Mar-15
     ...                                                                                                                                                                                                                          ..........

'CPW2      107991•. C24                                   4616      200!                6,                     270'  , •••• > •••
                                                                                                                                                   45'01442331 506000                                     KNIGHTLY                                CONNOR             .......
                                                                                                                                                                                                                                                                                        02-Mar-15        ;
                                                                                                                                                                                                                                                                                                                       02-Mar-15
 CPW1          822.•....................................
                           C23                           '4616      200.             6.25.                  281.25;                                45:01442331 506000                                    ALVARADO._, ...                          EDEL                 ......
                                                                                                                                                                                                                                                                                         31-Jan-16                      31-Jan-16
 CPW1          822'C23                                  ·4616       201.........      5.5                     7.76                          1.41!01442331 506000                                         ALVARADO                                 EDEL                                   31-Jan-16                      31-Jan-16
 CPW1          822!C23                                    4616      760                 2                        12                                      6i01442331 507500                               ALVARADO                                 EDEL                                   31-Jan-16
                                                                                                                                                                                                                                                                                                 ....... •............
                                                                                                                                                                                                                                                                                                                        31-Jan-16
'CPW1          8221(23                                   4616       866                 4                         2                             0.5 :01442331 508000                                     ALVARADO                                 EDEL                                   31-Jan-16                      31-Jan-16'
 CPW3       11636 C01S )4616 ...... , .... 200                                          3                      135                                45 01442331 506000                                     CHOINIERE                 ........
                                                                                                                                                                                                                                                  LEONARD                                31-Jan-16 •.......... 31-Jan-16.
 CPW3       11636
              ....•
                           C01S                           4616      760.                1                         6,                                     601442331 507500                       . .......
                                                                                                                                                                                                         CHOINIERE                                LEONARD                                31-Jan-16                      31-Jan-16
iCPW2       17756 C24                                     4616      200:                6.                     270                                45.01442331 506000                                     DEROSE               ...
                                                                                                                                                                                                                                                 VINCENT                                 31-Jan-16                      31-Jan-16
 CPW1       26735 C20                                     4616      200               8.5                    382.5'                               45;01442331 506000                                     GEBO                                    JAMES                                   31-Jan-16'                     31-Jan-16
 CPW1       26735 C20                                     4'616     201;              4.5                     7.43:                         1.65;01442331             ........ (
                                                                                                                                                                                       506000            GEBO                                    JAMES                                   31-Jan-16                      31-Jan-16
 CPW1
  ..        26735;C20                                  14616        760                 2                           12.L                                 6:01442331 507500                               GEBO                                ,JAMES                                      31-Jan-16                      31-Jan-16
'CPW3       26908'C23                                  14616        200                 5              ..
                                                                                                                   225'                           45101442331 506000                                     GENTILE                             iROBERT
                                                                                                                                                                                                                                              ,
                                                                                                                                                                                                                                                                                         31-Jan-16                      31-Jan-16'
                                                                                          .;                ~.




 CPW3       269~~;C23                                     4616      760                 1                               6                               6;01442331 507500                                GENTILE                                 ROBERT                                  31-Jan-16..
                                                                                                                                                                                                                                                                                                                        31-Jan-16
            26908:C23                                     4616      815'                7                         6.58                     0.94 01442331 508000                                          GENTILE                                 ROBERT
                                                                                                                                                                                                                              ............... ;.......                  ...
                                                                                                                                                                                                                                                                                         31-Jan-16'                     31-Jan-16
                                                         .   '."      ..... i

            29258 C20                                     4616      200,                8                          360                            45 01442331 506000                                     GRIMALDI                                ANTHONY                                 31-Jan-16'                     31-Jan-16
                                                                                                                                                                                                                                              ;

            29258C20                                   14616        759                 2:                          16              .•.. __ ...
                                                                                                                                    ,
                                                                                                                                                        801442331 507500                                 GRIMALDI                                ANTHONY                                 31-Jan-16                      31-Jan-16
                                                                                                                                                                                                                                                            .........

            29754 C23                                     4616      200               5.5                        247.5                            45 01442331 506000                                     GUYER                                   KEVIN            .......
                                                                                                                                                                                                                                                                                         31-Jan-16!                     31-Jan-16
            29754 C23                                     4616      20l!              4.5                         6.35                     1.41 01442331 506000                                          GUYER                                   KEVIN                                   31-Jan-16                      31-Jan-16
                                  3                       4616      760                   1                             6                               601442331 507500                                 GUYER                       ....... ,
                                                                                                                                                                                                                                                 KEVIN      .............
                                                                                                                                                                                                                                                                                         31-Jan-16                      31-Jan-16
                                  3                       4616      200               4.5,                       202.5'                           45 01442331 506000                                     KORMAN                                 JOSEPH                  .....
                                                                                                                                                                                                                                                                                         31-Jan-16:                     31-Jan-16
            38155C234616                                            201:              3.51                        4.94
                                                                                                                    ...
                                                                                                                                           1.41 01442331                              506000
                                                                                                                                                                  ................ .......
                                                                                                                                                                                                         KORMAN                                 JOSEPH                                   31-Jan-16                      31-Jan-16
                                                                                                                                                                                                                                                                   .....

            3815?ii C2314616                                        760:                  1                             6                               6;01442331 507500                                KORMAN             ............
                                                                                                                                                                                                                                                JOSEPH                                   31-Jan-16'                     31-Jan-16
            53052C24                                   )4616                              6;                       270                           45 01442331 506000                                      NORFLET
                                                                    200!                .. ...,,, ..
                                                                                           ~,.,                             , ..                                                                                                  .  ... GREGORY                   ........
                                                                                                                                                                                                                                                                                         31-Jan-16:                     31-Jan-16
            54557C23                                   '4616        200'
                                                                      ..               101                         450'                          45101442331 506000                                      OLLARI                              !JAMES                                      31-Jan-16'                     31-Jan-16
            54557.C23 .......... 4616                               201                 6'                        8.46;                    1.4~!01442331 506000                                        !'OLLARI                              [JAMES                                      31-Jan-16                      31-Jan-16
            54557C23 ........... , 4616                    ..       760:                   2f                       121                               }.
                                                                                                                                                        6101442331 507500                              [OLLARI           . ........
                                                                                                                                                                                                                                             'JAMES                                      31-Jan-16'                     31-Jan-16
            67658'C20                                     4616      200!              5:5';                      247.51                          45i01442331 506000                                    (SPAULDING                                ROBERT                                  31-Jan-16i                     31-Jan-16
                                .......... ..

            67658C20                                      4616      759                 2                            16:                                8j01442331 507500                              iSPAULDING                .....
                                                                                                                                                                                                                                                 ROBERT            .....
                                                                                                                                                                                                                                                                                         31-Jan-16'                     31-Jan-16
            67862 C20                                  14616        20~ •....         8.5                        382.5:                          4501442331 506000
                                                                                                                                                .....•...
                                                                                                                                                                                                       iST. GERMAIN                              DANIEL                                  31-Jan-16'                     31-Jan-16
            67862C20                                   :4616        2~~L              ~. ~5:                      6.35                     1.41[01442331 506000                                        !ST.
                                                                                                                                                                                                         ....
                                                                                                                                                                                                       ~.,   ,
                                                                                                                                                                                                              GERMAIN                            DANIEL           .......
                                                                                                                                                                                                                                                                                         31-Jan-16'                    31-Jan-16
            67862        'C20
                 ....... (
                                                          4616      760'!                  2                         12                                 601442331 507500                               1ST. GERMAIN                              DANIEL                                  31-Jan-16                     31-Jan-16
            73044C23                               ...
                                                          4616 . ; .200!
                                                                       .
                                                                                     "4 i[                         180                           45 :01442331 506000                                   :VELOZO                                  GARY          .   ......... i·······
                                                                                                                                                                                                                                                                                         31-Jan-16                      31-Jan-16
            73044C23                                      4616      201                    4                        6.6                    1.65:01442331 506000                                        'VELOZO                                  GARY                                     31-Jan-16                      31-Jan-16
                                              Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 45 of 102

iCPW3                                                                               ~!0~~4~:3:31           507500 VELOZO        IGARY       31-Jan-16     31-Jan-16
iCPW1                                                                              45101442331             506000 ,WARD         'WILLIAM    31-Jan-16'    31-Jan-16
'CPWl                                                                            1.6S101442331
                                                                                  ,        "
                                                                                                           506000 iWARD
                                                                                                    ------><.""
                                                                                                                                :WILLIAM    31-Jan-16'    31-Jan-16
 CPW1                                                                                  (jJ01~~2:331 507500 iWARD'WILLI,i\M                  31-Jan-16:    31-Jan-16
 CPW1                                                                                 45101442331 506000 IWILLIAMSON .IEDDIE                31-Jan-16.    31-Jan-16
iCPW1                                                                               1.41!01442331 :506000 WILLIAMSON            i'EDDIE     31-Jan-16     31-Jan-16:
 CPW1                                                                         __       6101442331
                                                                                          .... .. ..
                                                                                       --.- --",     ....
                                                                                                          :'507500   WILLIAMSON
                                                                                                    """""",,,,,,,,,,,,,
                                                                                                                                'EDDIE      31-Jan-16     31-Jan-16i
                                                                                       6!01442331 "507500 CUNNINGHAM [EDWARD                31-Jan-16     31-Jan-16
 CPW5                                                                               0.s3101442331l5080()0 :'CUNNINGHAM :EDWARD              31-Jan-16     31-Jan-16
 CPW5                                                                                 4~lq~442331 :506000' I'CUNNINGHAM 'EDWARD             31-Jan-16     31-Jan-16
 CPW2                                    LLL+                                         45,,01442331 1506000 IMINEO                 LUCA      31-Jan-16     31-Jan-16
 CPW5                                                              _        _.  _     45101442331         !S0660() I STEVENSON    CHARLES   31-Jan-16     31-Jan-16
 CPW5                                                              [""     11 1 ["" 0.83:,01442331 ,508000 :STEVENSON             CHARLES   31-Jan-16     31-Jan-16
 CPW2                                                                                 451!01442331 fS06000 i(3A.RRIT't          "PATRICK    31-Jan-16     31-Jan-16'
 CPW2 ......•..................                                                       45101442331         '506000JK~IGHTLY      ,'CONNOR    31-Jan-16     31-Jan-16,
 CPW2                                                                                 451,01442331506000 IHOLT                    TYRONE    31-Jan-16     31-Jan-16
                                                                                      4sIoi442331 506000!ALVARADO                 EDEL      07-Feb-1S     07-Feb-16
                                                                                     1.5101442331 506000 iALVARADO                EDEL      07-Feb-16,    07-Feb-16
                                                                                       6f6i442331 "so7s66 IALVARADO               EDEL      07-Feb-16     07-Feb-16
                                         :::.:-:.-::   .    816'~:8iti01~4?:331! 50S000ALVARAD()                                  EDEL      07-Feb-16,    07-Feb-16
,1..t'VV':)                     J.:lCl?Clil~qls i4(j16.. ~OO      8:1      '360iA$:lql~~~:3~1 506000 'CHOINIERE                   LEONA~D   07-Feb-16:    07-Feb-16
 CPW3                           116361'COIS 4616            201    T      12.11}.73I'g~~~~:331 506000 :~HOINIERE                  LEONARD   07-Feb-16     07-Feb-16
 CPW3                           11636, C01S           4616  760    2          12       6':01442331 '507500 CHOINIERE              LEONARD   07-Feb-16.    07-Feb-16
 CPW2                     'i77s6(C24 '4(j~6                 200'   8'360'             45'01442331 :506000 DEROSEYI~CENT                     07-Feb-16     07-Feb-16'
 CPW1                           26735,:C20           4616   200    8        360       45'01442331 '506000 GEBO                  IJAMES      07-Feb-16     07-Feb-16
 CPW1                           2673S:C2.0           14616  201    T       10.5      1.5:01442331 :506000 GEBO                  :JAMES      07-Feb-16     07-Feb-16
 CPW1                           26735:C26            14616'760     1            6,6101442331 :'?9T;oq ,iGEBOJAMES                           07-Feb-16     07-Feb~16!
 CPW326~OSlq:3                                       '4616  200    8}60':4?:q14~~:33if50(j06q:GENTILE                           iROBE.RT    07-Feb-16     07-Feb-16:
 CPW3                           26908C23             '4616  201    8      13.84     1.73'01442331' 506000 :GENTILE                ROBERT    07-Feb-16     07-Feb-16i
 CPW3           "   ""       . -
                                2690S:C23
                         " """":".",.. ,,,.
                                                     :4616  759    21         16       8"01442331.. i507500 'GENTILE
                                                                                               --    -      ,,,,,     ,,.
                                                                                                                                  ROBERT    07-Feb-16 '   07-Feb-16 ,
 CPW5                           29754C23              4616  200    8        360       45:01442331 :506000 GUYER                   KEVIN     07-Feb-16     07-Feb-16 1
 CPW5297S4(C2.3                                      '4616  760    2          12!      6'01442331 Iso7s60 "GUYER                .KEVIN      07-Feb-16     07-Feb~i6!
                                               7$9:              .~r          12!$Jq~44~:331 i59?5qq 'JANKIEWICZ                !STEPHEN    07-Feb-16:    07-Feb-16
                                                            200:   8,1      360'      45101442331 ,'506000 iJANKIEWICZ            STEPHEN   07-Feb-16'    07-Feb-16
                                               ~qOi       sf           3604S!q~44~3~i 506000 iK()R~A.N.JOSEPH                               07-Feb-16'    07-Feb-1
                                               76b'       2:           1 2 '"61014423'31 :507500 TKORMAN                      :JOSEPH'      07-Feb-16     07-Feb-16
                                               200:     6:51         292.5 : 45'101442331 :506000 :NORFLET                     GREGDRY      07-Feb-16     07-Feb-16
                                                                     Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 46 of 102

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                                                                                                                                                                                                                                                       ES
                                                                                                                                                                                                                                           ROBERT
                                                                                                                                                                                        .......................................
                                                                                                                                                                                                                                           ROBERT.
                                                                                                                                                                                                                                        ).............                                  .

                                                                                                                                                                                 . JLDING                                                  ROBERT
                                                                      ___       _._       ___ ' _ '                             ..                                                      NG                                                 ROBERT
                                                                                                                                                                                   ~ -- . . ...                                            DANIEL                                                                   07~Feb~16


                                                                                                                                                                                                                                               ANIEL                                                                07~Feb~16
                                                                                                                                                                                                                                                  IEL                                                               07~Feb~16

                                                                                                                                                                                                            ............................. "
                                                                                                                                                                                                                                              GARY
                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                    07~Feb~16
    _... _                        . __ ..            .___                                 __._.                    _"         ..                                             .                                                                GARY                                                                  07~Feb-16

                                                                                                                        ~-   ... --_.                                                         -                                               GARY                                                     07-Feb-16
                                                                                                                                                                                                                                    WILLIAM                                                            07-Feb-l         Feb-16
                                                                                                                                                                               ..................................................
                                                                                                                                                                                                                                    WILLIAM
                                                                                                                                                                                                                                         "..
                                                                                                                                                                                                                                         ..
                                                                                                                                                                                                                                                                                                       07-Feb-16    07-Feb-l
                                                                                                                                                                                                           ...............        ,   .
                                                                                                                                                                                                                                        LLiAM                                                                       07-Feb-16
                                                                                                                                                                                                                                    EDDIE                                                                           07-Feb-16i
                                                                                                                                                                                                  __ ..                             EDDIE                                                              07-Feb-16    07-Feb~i6j
                                                                                                                                                                                                                                    EDDIE                                                                           07-Feb-16'
                                                                                                                                                                                                                                    EDWARD                                                                          07-Feb-16
                                                     .___             ._                      __                        _ __ ..                     __.                     __                  _....... EDWARD                                                                                                     07-Feb-16
                                                                                                                                                    -~ ----                 MINEO                                                   LUCA                                                                            07-Feb-16i
                                                                                                                                                                                                                                                 ...............................................   ,   .

                                                                                                                                                                                                                                              CHARLES                                                               07-Feb-16
                                                                                                                                                    5075UU r;::~~;::.;;;::.~,;-;..;.:;················T;C;.;,HAR···L···E···5····················                                                       07-Feb-16'   07-Feb-16
                                                                                                          ......         "                      ,
                                                                                                                                                    506000
                                                                                                                                                      .
                                                                                                                                                                            GARRITY                                                           PATRICK                                                               07-Feb-16.
    ...      "............... .             "    "............              T         T     :>[J\Ji...............L\·::Ji:'.1'+'~L::J;).1 ;::J50\J16J~01\J0\J0            iKr\.IN\ill\G.J. IH:-ITILLYT                                        CO N                                                     07-Fe b-16   07-Feb-16
                                                                                                                                                    506000                  HOLT                                                                                                                       07-Feb-16    07-Feb-16!
;            ,                              T,   )...........    )          +         ,       :"..•J .;             ~fJI\.J~:";-":~):>.l, 1~5)\..01.u6\J010,JOlJi. \JG'.cE[B)0':J.....                                                                                                                 21-Feb-16    21-Feb-16.
                                                                                                                                                    506000                  OLLARI                                                                                                                     21-Feb-16    21-Feb-16
                                                                                                                                                                                                                                                                                                                    21-Feb-16:
                                                                                                                                                                                                                                                                                                                    21-Feb-16J
                                                                                                                                                                                                                                                                                                                    2.i~Fel:>~i6i
                                                                                                                                          Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 47 of 102


                                                                                                     4616                                  2001
                                                                                                       ·····························i················ ,....
                                                                                                                                                                                                16,                                 600                   3705'01442399 506000 BEEM                                                                       'STEPHEN.'              .
                                                                                                                                                                                                                                                                                                                                                                                           23-Dec-12: . ,
                                                                                                                                                                                                                                                                                                                                                                                                             23-Dec-12
                                                                                                     4616                                  7601.                                                      311
                                                                                                                                                                                                      . ...,
                                                                                                                                                                                                                                      18                         .
                                                                                                                                                                                                                                                                     6101442399                                             507500      BEEM.
                                                                                                                                                                                                                                                                                                                                                            STEPHEN                  '
                                                                                                                                                                                                                                                                                                                                                                                           23-Dec-12         23-Dec-12
                                                                                                     4616                                  200'                                  11.251                                         421.88                    37.5'01442399 506000 ELLARD                                                                       CLIFFORD,                      23-Dec-12         23-Dec-12:
                                                                                                     4616 .............. 201                                                                          4                           5.64                    1.41 01442399 506000 ELLARD                                                                       CLIFFORD                       23-Dec-12 , 23-Dec-12     .

                                                                                                     4616 ......... .,.. 201                                                          7.25                                       10.88                        1,5 01442399 506000 ELLARD                                                                    CLIFFORD                       23-Dec-12  .... ,
                                                                                                                                                                                                                                                                                                                                                                                                             23-Dec-12:
                                                                                                                                                                                                                                                                                                                                                                                                               ....•

                                                                                                     4616                                  200                                  13.25                                           496,88.                   37.501442399 506000 GUYER                                                                         KEVIN..                     '
                                                                                                                                                                                                                                                                                                                                                                                           23-Dec-12
                                                                                                                                                                                                                                                                                                                                                                                             ..
                                                                                                                                                                                                                                                                                                                                                                                                             23-Dec-12
                                                                                                     4616                                  201                                                        5                           7.05                    1.4101442399 506000 GUYER                                                                         KEVIN                          23-Dec-12         23-Dec-12
                                                                                                     4616                                 816                                               7.5                                      7.5                             1,01442399 508000 'GUYER                                                               KEVIN                          23-Dec-12. 23-Dec-12
                                                                                                                                               ioo,                                   17.51
                                                                                                                                                                 ...................•................. .
                                                                                                                                                                                                                                656.25,                   37.5101442399   .                                         ....
                                                                                                                                                                                                                                                                                                                            506000      HOULDSON            ROBERT          .   .....  . 23-Dec-12, 23-Dec-12
   CPWO                                             33296 COl                                              4616                                   760:                                                3'                              18:                            601442399507500 HOULDSON                                                               ROBERT                         23-Dec-12
                                                                                                                                                                                                                                                                                                                                                                                       ......;
                                                                                                                                                                                                                                                                                                                                                                                                             23-Dec-12
   CPW5                                             34448 C23~616                                                                                 200,                                          13                               487.5                    37.5;01442399 506000 JANKIEWICZ                                                                   STEPHEN                        23-Dec-12         23-Dec-12
   CPW5                                             34448'C23                                              4616                                   201                                                 5                           7,05                    1.4~i:01442399i?06000 iJANKIEWICZ                                                                 STEPHEN                        23-Dec-12, 23-Dec-121
   CPW5
 ....................................... .
                                                    34448C23
                                                      . . . . ; . ,
                                                                                                           4616                                   816                                 7.25'                                       7.25                               1'01442399 1508000 ;JANKIEWICZ                                                       :
                                                                                                                                                                                                                                                                                                                                                            STEPHEN                        23-Dec-12 . 23-Dec-12.
   CPW5                                             38155 C23                                              4616                                   816,                                      7.5                                      7.5,                            1 01442399 1508000 KORMAN                                                              JOSEPH                         23-Dec-12         23-Dec-12
   CPW5....; 38155 i::
 .....
                                                                       C23:..........!.................... 4616                                   200 ;........................13.25
                                                                                                                                      i····.. ·····
                                                                                                                                                                                                                                496,88'
                                                                                                                                                                                                                                    . .;.
                                                                                                                                                                                                                                                          37.5.01442399   ,..
                                                                                                                                                                                                                                                                                                                          ?506000KORMANJOSEPH           i      , .
                                                                                                                                                                                                                                                                                                                                                                                           23-Dec-12' 23-Dec-12,
   CPW5                                             38155
      ............................... ;............................
                                                                       C23
                                                                    ;......................
                                                                                                          4616
                                                                                                        ,...........                   !....
                                                                                                                                                  201:•                                              5                            7.05                    1.4101442399    .
                                                                                                                                                                                                                                                                                                                            506000 KORMAN                .
                                                                                                                                                                                                                                                                                                                                                            JOSEPH'                    ' .
                                                                                                                                                                                                                                                                                                                                                                                           23-Dec-12         23-Dec-12
'CPW3
    ........................     "
                                                    54557              C23
                                                                    ,.....
                                                                                                          4616                                    821:   .
                                                                                                                                                                                                     5'                             7.5                      1.5101442399 508000                                                    .. OLLARI
                                                                                                                                                                                                                                                                                                                                         .            .
                                                                                                                                                                                                                                                                                                                                                        :JAMES                             23-Dec-12         23-Dec-12:
iCPW3                                               54557 C234616                                                                                 200;                                         1811.,                               675 , . . . . . . .370501442399
                                                                                                                                                                                                                                                          .........................
                                                                                                                                                                                                                                                                                                                          1506000 OLLARI                :JAMES
                                                                                                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                                                                                                           23-Dec-12
                                                                                                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                                                                                                             23-Dec-12'
                                                                                                                                                                                                                                                                                                                                                                                                                 .

'CPW3                                               54557C23        ..                                 ;4616                                      201                                                8:                               12                     1,5'01442399'506000 tOLLARIJAMES.                                                                                             23-Dec-12         23-Dec-12'
  CPW3. 54557 C23                                                                                         4616                                    760                                                3                                18                            6101442399 1507500 OLLARI                                                              JAMES                           23-Dec-12         23-Dec-12
  CPW4
 ......................................;
                                                    57496; COl         . :.. ,
                                                                                                          4616 ! "',::
                                                                                                        i : .,
                                                                                                                                                  200 'r········ . · · · · · · · · · 14 r··············                             525 i·········· 37,S01442399
                                                                                                                                                                                                                                                            ·················i·····································
                                                                                                                                                                                                                                                                                        j..
                                                                                                                                                                                                                                                                                                                          1506000 PIANKA                    WILLIAM                   '.
                                                                                                                                                                                                                                                                                                                                                                                           23-Dec-12         23-Dec-12
  CPW4                                              57496·COl............ i·························      4616 !······················'r·····························.........
                                                                                                                                                  760                                                3t.                              18                            601442399 1507500 PIANKA       ...~.,
                                                                                                                                                                                                                                                                                                                                                            WILLIAM                        23-Dec-12         23-Dec-12 ,.
  CPWl                                              69833 COl                                             4616                                    200,.                               13.5.                                     506.25
                                                                                                                                                                                                                                  .        ,.             37,S01442399                                                    1506000       SUPERNEAU       'GREG           .            .
                                                                                                                                                                                                                                                                                                                                                                                           23-Dec-12.        23-Dec-12
  CPWl                                             69833 COl
  ............................. ,................ . .. ····i············..······ ............•..........
                                                                                                          4616                                    760'
                                                                                                                                      :.............
                                                                                                                                                                                                     3'                              18                             61.01442399 .. 1507500                                ,
                                                                                                                                                                                                                                                                                                                                        SUPERNEAU           GREG                           23-Dec-12 ...
                                                                                                                                                                                                                                                                                                                                                                                                             23-Dec-12,
  CPWl                                        105824 COl                                                  4616                        '200                                                     12                                  450                    37.5:01442399 1506000 DONELONSCOTT                                                                                               23-Dec-12 , 23-Dec-121      .

  CPW5                                        105848'C03                                                  4616                                    821                                                5'                             4.4                   0.88:01442399                                    .
                                                                                                                                                                                                                                                                                                                          '508000
                                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                                        CUNNINGHAM
                                                                                                                                                                                                                                                                                                                                            ..
                                                                                                                                                                                                                                                                                                                                                            EDWARD,
                                                                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                                                                                           23-Dec-12         23-Dec-12
  CPW5                                        105848!C03                                                  4616
                                                                                                         .............................;
                                                                                                                                                  822   !
                                                                                                                                                                                                     5    !..................
                                                                                                                                                                                                                                  4.15.  ;:..............
                                                                                                                                                                                                                                                          0.8301442399
                                                                                                                                                                                                                                                           •..•.... i : ' ',',:':: :
                                                                                                                                                                                                                                                                                                                            508000      CUNNINGHAM
                                                                                                                                                                                                                                                                                                                         !::: :,:: :: '1,:,  " . : ,.
                                                                                                                                                                                                                                                                                                                                                            EDWARD               .
                                                                                                                                                                                                                                                                                                                                                                                           23-Dec-12 • 23-Dec-12:,
                                                                                                          4616                                    823                                      7.5                                      6.6                   0.88'01442399
                                                                                                                                                                                                                                                          .....          .                                                  508000 CUNNINGHAM . EDWARD                                     23-Dec-12.....    23-Dec-12
                                                                                                          4616                                    200                          13,25                                            496.88                    37.5101442399 506000 CUNNINGHAM •EDWARD                                                                                          23-Dec-12         23-Dec-12
                                                                                                                     16                           2001                               18S                                        693.75                    37.5,01442399 506000 STEVENSON                                                                   CHARLES                         23-Dec-12         23-Dec-12
         PW5                                  107108'C03                                               4616                                       821:                               6.25                                           5.5                   0.88]01442399 508000 iSTEVENSONICHARLES                                                                                          23-Dec-12' 23-Dec-12
  CPW5    ............................ !
                                              107108'C03            +..                                4616                                       822:. ,..                          6.25                                         5.19.                   0.8301442399 508000 jSTEVENSON                                                                !CHARLES                   .       23-Dec-12         23-Dec-i2.
                                                                                                                                                                                                                                                                                                                                                                                                                     . .
iCPW5 '107108                                        . . . . , .
                                                                       C03                             4616                                      8231                                                8'r,                         7.041                   0.88;01442399 508000 STEVENSON                                                                   CHARLES"-                       23-Dec-12         23-Dec-12.
ICPW5                                                   3682 COl                                       4616                           ,209!7!:                                                                                   262.5                    37.5!01442.~9~?96000 BEEM                                                                        STEPHEN                         30-Dec-12         30-Dec}2
 CPW5                                                   3682 COl         .............................!
                                                                                                       4616                                      760:
                                                                                                                                     !...............
                                                                                                                                                                                                     11                                 6'                          6·01442399 ,507500                                      .
                                                                                                                                                                                                                                                                                                                                        BEEM               STEPHEN                         30-Dec-12         30-Dec-12
:CPW3                                              11636 C01S 14616                                                                              760;                                                1                                  6                           6;01442399 507500 CHOINIERE                                                             LEONARD                        30-Dec-12         30-Dec-12:
            Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 48 of 102

29754:C23                                                    GUYER
                                                             GUYER
                                                             HOULDSON
                                                             HOULDSON

                                                                    EWICZ
                                                             KORMAN
                                                             OLLARI
                                                             OLLARI
                                                             OLLARI
                                                              lANKA
                                                              lANKA
                                                              UPERNEAl,J
                                                              UPERNEAU
                                                              ONELON .
                                                             DONELON-
                                                             CUNNINGHAM     EDWARD
                                                    506000   CHIARIZIO      DARREN                16-Jan-13
                                                    506000   HOULDSON       ROBERT                16-Jan-13
                                                    506000   CHIARIZIO      DARREN                22-Jan-13
                                                    506000   CHIARIZIO      DARREN                29-Jan-13
                                                    506000   CHIARIZIO      DARREN                09-Feb-13[
                                                    506000   HOULDSON       ROBERT                09-Feb-13
                                                    507500   HOULDSON       ROBERT                09-Feb-13
                                                             PIANKA                               09-Feb-13
                                                             PIANKA                               09-Feb-13
                                                             GARRITY                              09-Feb-13
                                                             GARRITY                               09-Feb-13
                                                             WILLIAMS                            ' 09-Feb-13
                                                             WILLIAMS                09-Feb-13    09-Feb-13
                                                             SEEM                    lO-Feb-13    ll-Feb-13 j
                                                             SEEM                    lO-Feb-13    lO-Feb-13
                                                             CHIARIZIO      DARREN   lO-Feb-13    10-Feb-13
                                                             GUYER          KEVIN                 ll-Feb-13
                                                             GUYER          KEVIN                 10-Feb-13
                                                             HOULDSON       ROBERT
                                                             HOULDSON       ROBERT
                                                 Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 49 of 102

                                                                                                                 ANKIEWICZ                                                                                           10-Feb-13   ...........     ,       .

                                                                                                                JANKIEWICZ                                                                                           10-Feb-13
                                                                                                                                                                                                                         ......................... ;   .....

                                                                                                                 ORMAN                                                                                               10-Feb-13
                                                                                                                 ORMAN                                                                                               10-Feb-13
                                                                                                                NORFLET
                                                                                                                NORFLET
                                                                                                                WILLIAMS                                             EAN.
                                                                                                                                                                     EAN
                                                                                                                CUNNINGHAM                                        EDWARD
                                                                                                                CUNNINGHAM                                        EDWARD
                                                                                                                    NINGHAM                                       EDWARD
                                                                                                                STEVENSON                                         CHARLES'
                                                                                                                    EVENSON                                       CHARLES
                                                                                                                   TEVENSON                                       CHARLES. ..................;                          .

                                                                                                                   TEVENSON                                       CHARLES
                                                                                                                                                                       ..................................

 CPW2   1077591C24                                                                                               ARRITY                                           PATRICK
 CPW5    29754:C23                                                                                              GUYER                                             KEVIN
'CPW5   '344481<::23             4l                                                                             JANKIEWICZ
 CPW5    38155:C23               4                                      8.                                      KORMAN
;CPW5   105848:C03            4616                               5      4.15                                    CUNNINGHAM
   W4    11500:COl            461                200'       45        168.7                                      HIARIZIO
 CPW4    57496:COl            4616               ?9qi;       4           150                                    PIANKA
'CPW4    57496:COl            4616               760:            1            6                                 PIANKA                                        LLiAM
                                                                                                                                                                 ............................................   .;
iCPW4    11500:COl           14616               200 1        51       187.5                                            ....•............................ ;
                                                                                                                                                            DARREN
                                                                                                                                                               .
iCPW4    11500lCOl            4616               200'        12         540                                     CHIARIZIO                                   DARREN
'CPWO    332961COl           14616               200          31        135.                                    HOULDSON                                          ROBERT
'CPW4    11500lCOl          4616                 200   1     12          540                                    CHIARIZIO                                         DARREN                                                                               15-Dec-13
'CPWO    332961C014616
            ........
                ,.   . ...
                                                 2gql      12.51       562.5                                    HOULDSON                                          ROBERT                                                                               15-Dec-13
 CPWO    332961COl         '4616                 760             3.          18                                 HOULDSON                                          ROBERT                                                                               15-Dec-13
:CPW4    574961cOl           14616
                       ..... ......
                             "      ..
                                  ""."".. """,
                                                 2061       24J        i0801'                                      lANKA                                                                                                                               18-Dec-13
ICPW4    11500lCOl           14616               200!       12'          54m                                       HIARIZIO                                                                                                                            03-Jan-14
!CPWO    33296:COl           14616               2001      115         517.5:         45',01442399                 OULDSON                                                                                                                             03-Jan-14
:CPWO    332961cOl           4616                ?6g;                     12;           61014423995075          HOULDSON                                                                                                                               03-Jan-14
iCPW4    574961COl            4616               200'      12.        562.5           ~S1g14~23~~      506000   PIANKA                                                                                                                                 03-Jan-14
CPWO     753221C03           '4616               200;                   360 1         45;01442399      506000   WILLIAMS                                                                                                                               03-Jan-14
CPWO     753221C03           14616               7611            2           16r···· . . '5101442399   507500   WILLIAMS                                                                                                                               03-Jan-14
CPW4     11500lCOl           '4616               2001            4      1801          45:i01442399 '506000      CHIARIZIO                                                                                                                              22-Jan-14
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                                                                                                 CHIARIZIO     DARREN   05-Feb-14     06-Feb-14:
                                                                                                 HOULDSON     ROBERT    05-Feb-14     05-Feb-14
                                                                                                 PIANKA                 05-Feb-14     06-Feb-14
                                                                                                 CHIARIZIO    DARREN     10-Feb-14    15-Feb-14
                                                                                                 PIANKA       WILLIAM    13-Feb-14    15-Feb-14'
                                                                                                 HOULDSON     ROBERT    16-Feb-14     19-Feb-14
                                                                                                 PIANKA       WILLIAM   18-Feb-14     18-Feb-14
                                                                                                 CHIARIZIO    DARREN    19-Feb-14     19-Feb-14
                                                                                                 CHIARIZIO  ,DARREN     13-Mar-14    13-Mar-14
                                                                                                 ALVARADO    :EDEL      ll-Dec-16    ll-Dec-16
                                                                                                 ALVARADO   !EDEL       ll-Dec-16:   ll-Dec-16
                                                                12           601442399 '507500 ALVARADO     :EDEL       ll-Dec-16    ll-Dec-16
                                                             5.41       0.94 101442399 i568006 :ALVARADO      EDEL      ll-Dec-16'   ll-Dec-16
                                                          483.75                         1
                                                                           45101442399 566006 1CHOINIERE      LEONARD   ll-Dec-16:   ll-Dec-16
                                                             5.64.      i.41'j01442399 '506000 !CHOINIERE     LEONARD   ll-Dec-16    Il-Dec-16
                                                                18 i . ······6!01442399 507500kHOINIERE       LEONARD   ll-Dec-16    ll-Dec-16
                                           135             607.5:45101442399 '566000:6ER(jSE'               iVINCENT    ll-Dec-16'   ll-Dec-16
                                              12!             540'         45]01442399:566000 'DULUDE         WILLIAM   ll-Dec-16    Il-Dec-16
:CPW3     20781,C20    4616     201L         3.5:     .      5.78i      1.65!.0144239~1566000 D.~LUDE       IWILLIAM    ll-Dec-16    ll-Dec-16'
1~~\lV?   2q7~~J(20   '4616     759:           4:32                          8:01442399 '507500 'DULUDE     :WILLIAM    ll-Dec-16    Il-Dec-16
iCPW5   21462'C23     '4616     2001          10:
                                            ",.
                                                              450:         4501442399. .
                                                                                         j506000 ELLARD     :CLlFFORD   Il-Dec-16'   ll-Dec-16
 CPW5   21462:(23      4616     2011         2.5             3.531      1.41101442399 506000 ELLARD         !CLlFFORD   ll-D~c-16    ll-Dec-16
 CPW5 . 21462!(23     14616     760L           2:               12           §Lq~~~239~:.s0?50q ELLARD      'CLIFFORD   ll-Dec-16    ll-Dec-16'
 CPWl   267351C20      4616     2001          13;             585'         45'01442399 1506000 GEBO         :JAMES      ll-Dec-16    ll-Dec-16
CPWl    26735.C20      4616     201            8:       ......1?2. 1.6.sJq1442399 1 5060qq GEBO.JAMES                   ll-Dec-16    ll-Dec-16:
 CPWl   267351C20     :4616     201:          13:          22.49i       1.73101442399 j506000 GEBO          IJAMES      ll-Dec-16    ll-Dec-16
 CPWl   267351C20      4616     759            2                16:          8:01442399 '507500 GEBO          JAMES     ll-Dec-16    ll-Dec-16
 CPW326908C23          4616     2001      12.25'          551.25           45j01442399 :566006 GENTILE      :ROBERT     ll-Dec-16    ll-Dec-16
 CPW3   269081c23     :4616     201'       4.75:               6.71     i.41'101442399 1566006 GENTILE      :ROBERT     ll-Dec-16    ll-Dec-16
 CPW3   29258.C20     :4616     2001           8!             360;         4510~442399 )506000 1~Rlf\IIAL61   ANTHONY   ll-Dec-16    Il-Dec-16
 CPW3   292581C20     :4616     2011           8:          13.84        1.73101442399 '506000 GRIMALDI      IANTHONY    ll-Dec-16    ll-Dec-16:
 CPW3   29258jC20     :4616     759            2: . .           16          8 101442399 :s67500 !GRIMALDI     ANTHONY   ll-Dec-16    ll-Dec-16
 CPW5   29754C23       4616     2001          12             540           4501442399 :506000 iGUYER          KEVIN     ll-Dec-16    ll-Dec-16,
CPW52~75~:C23          4616     201'!       4.5              6.35:      1.4101442399:5066()0:GUYER            KEVIN     ll-Dec-16    ll-Dec-16
 CPW5     297541c23   '4616 :   760:           3:               18           6:01442399507500 !GUYER        iKEVIN      ll-Dec-16    ll-Dec-16
icpws     344481c23   :4616"    20g1    . 12.251          551.~.s1~.s101~~?399566000 iJJ\~KIE\llJICZ;STEPHEN            ll-Dec-16.   ll-Dec-16
:CPW5     34448:C23   :4616     201:         55             7.76'       1.41101442399 506000 JANKIEWICZ       STEPHEN   ll-Dec-16    ll-Dec-16,
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CPW5                 34448 C23                     4616          760          3           18         h n1J1J1?~QQ    507500        IJANKIEWICZ   ISTEPHEN                          '            ll-Dec-16     ll-Dec-16'
CPW5                 38155 C23
                                   .............

                                                   4616          2CJCJ      12           540        45 01442399 506000              KORMAN      .JOSEPH                     I                   ll-Dec-16     ll-Dec-16
CPW5                 38155 C23                     4616          201       4.5          6.35      1 II 1 ()11111?~QQ 506000         KORMAN       JOSEPH                                         ll-Dec-16     ll-Dec-16
CPW5                 38155 C23                     4616          760          3           18           h ()1J1J1,:lOO 'jU/jUU       KORMAN       ,JOSEPH                                        ll-Dec-16     ll-Dec-16
                                                                 200      15.5         697.5        Jlt:; n1J1J1,::ioo 506000       NORFLET       GREGORY                                       ll-Dec-16     ll-Dec-16
CPW2                 53052 C24        ..........
                                                 '4§16                                                                                                                              ,............

                                                   4616          200     12.25        551.25        Jlt:; n1J1J1,:lOO 506000        OLLARI       :JAMES                                         ll-Dec-16     ll-Dec-16
CPWl                 54557 C23                                                                                                                     ..                  . .......




CPWl                 54557 C23                     4616          201       7.5         10.58      1 II 1 n1J1J1,~QQ . t:;flhrJrJ[   OLLARI       JAMES                                          ll-Dec-16     ll-Dec-16
                                                                                                                                                                   ..........           .

CPWl                 54557 C23                     4616          760          2           12           h n1 JlJInaa 507500          OLLARI       JAMES                                          ll-Dec-16     ll-Dec-16
                                                 :.
CPWl                 54557 C23                     4616          821     12.25         18.38       1 I; n11111?~Qq     508000 OLLARI             JAMES                                          ll-Dec-16     ll-Dec-16
CPW3                 67658 C20                     4616          200         .1          495        III; n1J1J1,:laa 506000         SPAULDING     ROBERT                                        ll-Dec-16     ll-Dec-16'
                                                                                  !

CPW3                 67658 C20                     4616          201        i1         19.03      1.7~    n1 JlJI,:laa 506000 SPAULDING           ROBERT                                        ll-Dec-16     ll-Dec-16'
CPW3                 67658 C20                     4616          759         3            24           ~  n1J1J1,:lOa  507500 SPAULDING           ROBERT                                        ll-Dec-16     ll-Dec-16
CPWl........ , 67862 C20                           4616          200        13           585        III; n1J1J1,:laa 506000         ST. GERMAIN   DANIEL                                        ll-Dec-16'    ll-Dec-16:
              ".
CPWl                 67862 C20                     4616          201         8          13.2      1 hI; n1J1J1,:laa 506000          ST. GERMAIN   DANIEL                                        ll-Dec-16     ll-Dec-16'
CPWl                 67862 C20                     4616          201        13         22.49      1 7~ n1J1J1,:laa 506000           ST. GERMAIN   DANIEL                                        11-Dec-16     11-Dec-16.
                                                                                                                                                                                   ,.....

CPWl                 67862 C20                     4616          759         2            16           8 01442399 507500 ST. GERMAIN              DANIEL                                        11-Dec-16     ll-Dec-16[
CPWl                 73949 COl                     4616          200     11.25        I;nh ? I;     III; n1J1J1,:laa                WARD         IWILLIAM                                       ll-Dec-16     ll-Dec-16
CPWl                 73949 COl                     4616          759         1             8           Q :n1J1J1,:lOO
                                                                                                                       507500 WARD               hAIl LLift 1\/1                                ll-Dec-16,    ll-Dec-16
CPW5                1nl;~l1~ C03                   4616          200     12.75        573.75        III; :n1 JlJI,:laa 506000       CUNNINGHAM EDWARD                                           ll-Dec-16     ll-Dec-16:
                                                                                                       I; n11111?~qq                                                                            ll-Dec-16     ll-Dec-16
CPW5 ........ ,.... 1nl;~l1~ C03                   4616
                                                 , ...........
                                                                 761         3            15                           507500 CUNNINGHAM EDWARD
CPW5                105848 C03                     4616          821     12.75         11.22      0.88 01442399 508000 CUNNINGHAM EDWARD                                                        11-Dec-16     ll-Dec-16
CPW5                1nl;~l1~ C03                 14616           822      5.25          4.36      0.83 01442399 , ... , (}<clll II  CUNNINGHAM EDWARD                               ! ........
                                                                                                                                                                                                11-Dec-16     11-Dec-16l
CPW2                1065211C24                   4616            2CJO       14           630        45 n11111?~qq , ... ,11'.[1111  MINEO         LUCA                                          11-Dec-16     11-Dec-16
                                                                                                                                                                                                ll-Dec-16     ll-Dec-16:
                                                                                                                                                                                                ll-Dec-16     ll-Dec-16
                                                                                                                                                                                                11-Dec-16     ll-Dec-16
                          C03                                                                                                    STEVENSON          CHARLES                                     11-Dec-16     ll-Dec-16
              107759      C24                                                                                        506000      GARRITY            PATRICK                                     ll-Dec-16     11-Dec-16
              108488      C20                                                                                        506000      MULLEN             CHRISTOPHER                                 ll-Dec-16     11-Dec-16
              108488      C20                                                                                        506000      MULLEN             CHRISTOPHER                                 ll-Dec-16'    ll-Dec-16
              108488      C20                                                                                        507500      MULLEN             CHRISTOPHER                                 ll-Dec-16     ll-Dec-16
              109958      C24                                                                                        506000      HOLT                                                           ll-Dec-161    ll-Dec-16
               53052      C24                                                                                        506000      NORFLET                                                        18-Dec-16'    18-Dec-16
                 822                                                                                                 506000      ALVARADO                                                         01-Jan-17    01-Jan-1T
                 822 C23                                                                                                         ALVARADO                                                         01-Jan-17    01-Jan-1T
                                                                                                                     507500      ALVARADO                                                         01-Jan-17    01-Jan-1T
                                                                                                                     506000      DEROSE                                                           01-Jan-1T    01-Jan-17
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                                                          DULUDE                      01-Jan-17    Ol-Jan-iT
                                                          DULUDE                      01-Jan-17    Ol-Jan-iT
CPWi                                                      GEBO                        01-Jan-17    Ol-Jan-iT
CPWi                                             506000   GEBO                        0l-Jan-17    Ol-Jan-iT
CPWi                                             507500   GEBO                        01-Jan-17:   01-Jan-17
CPW3                                             506000   GENTILE                     Ol-Jan-iT    01-Jan-17
CPW3                                             506000   GENTILE                     01-Jan-17'   01-Jan-17
CPW3                                             507500   GENTILE                     01-Jan-17    01-Jan-17
CPW3                                             506000   GRIMALDI                    01-Jan-17    01-Jan-17
CPW3                                             507500   GRIMALDI                    Ol-Jan-iT    01-Jan-17
CPW5                                             506000   GUYER                       Ol-Jan-17:   Ol-Jan-iT
CPW5                                             507500   GUYER                       01-Jan-17    01-Jan-17
CPW5                                             506000       KIEWICZ                 01-Jan-17:   01-Jan-17
CPW5                                             507500       KIEWICZ                 01-Jan-17    01-Jan-17
CPW5                                             506000   KORMAN                      Ol-Jan-iT    01-Jan-17
CPW5                                             507500   KORMAN                      Ol-Jan-iT    01-Jan-17
CPW2                                             506000   NORFLET                     01-Jan-17    01-Jan-17
CPWi                                             506000   OLLARI                      0l-Jan-17    01-Jan-17
CPWi                                             506000   OLLARI                                   01-Jan-17
CPWi                                             507500   OLLARI            ES                     01-Jan-17
CPW3                                             506000   SPAULDING     ROBERT                     Ol-Jan-iT
CPW3                                             507500   SPAULDING     ROBERT                     Ol-Jan-iT
                                                          ST. GERMAIN   DANIEL                     01-Jan-17
                                                          ST. GERMAIN   DANIEL                     Ol-Jan-iT
                                                 507500   ST. GERMAIN   DANIEL                     01-Jan-17
  CPWi                                           506000   WARD          WILLIAM                    Ol-Jan-iT
,CPWi                                                     WILLIAMSON    EDDIE                      01-Jan-17
  CPWi                                           507500   WILLIAMSON    EDDIE                      01-Jan-17
  CPWi                                           506000   WILLIAMSON    EDDIE                      01-Jan-17
:CPW5                                            506000   CUNNINGHAM    EDWARD                     01-Jan-17
;"

  CPW5                                           507500   CUNNINGHAM    EDWARD                     01-Jan-17
'CPW2                                            506000   MINEO         LUCA                       01-Jan-17
  CPWS                                           506000   STEVENSON     CHARLES                    01-Jan-17
  CPW5                                           507500   STEVENSON                                01-Jan-17
  CPW2                                           506000   GARRITY       PATRICK                    01-Jan-l
  CPW5                                           506000   MULLEN        CHRISTOPHER                Oi-Ja
   PW5                                           507500   MULLEN        CHRISTOPHER                01-Ja
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                                                                                           E



                                                                                               08-Jan-17
                                                                                               08-Jan-17
                                                                                               08-Jan-1T
CPWl                                                                 Gl:1:30                   08-Jan-17
CPWl                                                                 GEBO                      08-Jan-17
CPWl                                                                 GEBO                      08-Jan-17
CPW3                                                                 GENTILE                   08-Jan-17
CPW3                                                                 GENTILE                   08-Jan-17
CPW5                                                                 GUYER                     08-Jan-17
CPW5                                                                 GUYER                     08-Jan-17



                                                                                               08-Jan-17
                                                                                               08-Jan-17
                                                                                   GREGORY     08-Jan-17
                                                                                   JAMES       08-Jan-17
                                                                                   JAMES       08-Jan-17
                                                                                   JAMES       08-Jan-17
                                                                                   JAMES       08-Jan-17
                                                                                   ROBERT      08-Jan-17
                                                                                   ROBERT      08-Jan-17
                                                            506000   SPAULDING     ROBERT      08-Jan-17
                                                                     ST. GERMAIN   DANIEL      08-Jan-17
                                                            506000   51. GERMAIN   DANIEL      08-Jan-1T
                                                            507500   ST. GERMAIN   DANIEL      08-Jan-17
                                                            508000   ST. GERMAIN   DANIEL
                                                            506000   WARD
                                                            506000   WILLIAMSON    EDDIE
                                                            506000   WILLIAMSON    EDDIE
                                                                     WILLIAMSON    EDDIE
             C23                                                                   EDDIE
       105848 C03                                                    CUNNINGHAM    EDWARD
       105848 C03                                                    CUNNINGHAM    EDWARD
       106521 C24                                                    MINEO         LUCA
       Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 54 of 102

                                                                                                                                                                                                 CHARLES         08-Jan-1T                             08-Jan-17
                                                                                                                                                                                                                08-Jan-1T                              08-Jan-17
                                                                       0 'GARRITY                                                                                                                  PATRICK       08-Jan-17                             08-Jan-1T
                                                                     000 MULLEN                                                                                                                   CHRISTOPHER   08-Jan-1T                              08-Jan-17
4616   759            1:        8                     801442399 1507500 i MULLEN                                                                                                                  CHRISTOPHER   08-Jan-17                              08-Jan-17:
                                                                                                                                                                                                                                                              ,.
                                                                                                                 r
                                                                                                                                                                                                                                                        .........




4616   200            4       180                    4501442399 506000 i HOLT                                                                                                                     TYRONE        08-Jan-17                              08-Jan-17
4616   200         16.5     742.5                    45101442399 !506000 'ALVARADO                                                                                                                 EDEL         05-Feb-17                              05-Feb-17

                                        lt~!6i::H§§ :~6~666i~c~~~~66
4616   201            7      9.8T!                                                                                                                                                                 EDEL         05-Feb-17                              05-Feb-17
4616   201 1        1.5      2.25'                                                                                                                                                                EDEL          05-Feb-17                              05-Feb-17
4616   760!           4        24 1        ..... 6101442399                                                          507500                           iALvARADo                                  'EDEL          OS-Feb-17                              05-Feb-17
        ........
             ".


4616   200!           8,     360 i         "45i01442399506000 CHOINIERE                                                                                                                          'LEONARD       OS-Feb-17,                             05-Feb-17
                                                       506000 CHOINIERE                                                                                                                          ILEONARD       OS-Feb-17                              05-Feb-17
                                                       507500 CHOINIERE                                                                                                                           LEONARD       OS-Feb-17                              05-Feb-1T
                                                       506000 DEROSE                                                                                                                             iVINCENT       OS-Feb-17                              05-Feb-17
                                                      '506000 ELLARD                                                                                                                              CLIFFORD      OS-Feb-17                              05-Feb-17
                                                      1506000 ELLARD                                                                                                                              CLIFFORD      OS-Feb-17                              05-Feb-17
                                                      1507500 1 ELLARD                                                                                                                            CLIFFORD      OS-Feb-17                              05-Feb-17
                           663.75';       45:01442399 )506000 iGEBO                                                                                                                               JAMES         05-Feb-17                              05-Feb-17;
                            11.96     '1.65161442399 :506000 iGEBO                                                                                                                                JAMES         OS-Feb-17                              05-Feb-17
                               24          ~lql~A2~9~ ,507500 T GEBO                                                                                                                              JAMES         05-Feb-1T                              05-Feb-17,
                              360                4SW1442399!5060qg .i(JE~TILE.                                                                                                                    ROBERT        OS-Feb-17                              05-Feb-17 1
                               16                       ~'014~~3~9 fS07500                                                                            l GENTILE                                  IROBERT        OS-Feb-17                              05-Feb-17:
                              450
                              '>"
                                            4?!19~4423~9 . ; 506qgO!(JRI~ A~[)I                                                                                                                   ANTHONY       OS-Feb-17
                                                                                                                                                                                                                ..
                                                                                                                                                                                                                 ----   ......   .   .   ...   _._-~
                                                                                                                                                                                                                                                       05-Feb-17
                             13.2!       i.65101442399 1506000 '!GRIMALDI                                                                                                                         ANTHONY       05-Feb-17i                             05-Feb-1T
                             3.46        1.73' 01442399 i 50    6000       GRIMALDI                                                                                                               ANTHONY       05-Feb-17                              05-Feb-1T
                                                             ..    .... ..                                           "'"".,, " " " , ' " " ,   ""




                               16'           81.01442399 1507500 iGRIMALDI                                                                                                                        ANTHONY       OS-Feb-17                              05-Feb-17
                              810 1    .... 45:01442399 i 506000 !GUYER                                                                                                                          'KEVIN         05-Feb-17                              05-Feb-17:
                                        ........ ,   "."",.".,."'"""".""."   ... ,, .•...,   ~.,   ...   -,.,.                                      .... " . " .. ".,.",.".".,."""",....., ...

                                        1.41 i101442399                                                          ;506000 iGUYER                                                                   KEVIN         OS-Feb-17                              05-Feb-17
                               12 1         6:01442399                                                            507500 iGUYER                                                                  !KEVIN         OS-Feb-17                              05-Feb-1T
                              630          4501442399                                                            i506000iJANKIEWlcz:
                                                                                                                           ..... .. .. ........... -.".
                                                                                                                                                      ,.,.".,"'.',   ,""',.",   "
                                                                                                                                                                                                  STEPHEN       OS-Feb-17                              05-Feb-1T
                            11.28'       1.41:01442399                                                            506000 iJANKIEWICZ                                                              STEPHEN       05-Feb-17                              05-Feb-1T
                               12           6:01442399                                                           !507500 iJANKIEWICZ                                                              STEPHEN       05-Feb-17                              05-Feb-1T
                              4501    .... 45:161442399                                                          T5·060()() Ti<ORMAN                                                              JOSEPH        05-Feb-17I!                            05-Feb-17
                                                                                                                                                                                                     ....
                                                                                                                                                                                                    - ...


                            11.28     ····i:41101442399                                                              506000                           i KORMAN                                   'JOSEPH        05-Feb-17                              05-Feb-1T
                               12 1              6!01442399                                                      i   507500TKoRMAN                                                                JOSEPH        05-Feb-17                              05-Feb-1T
                            517.5 i            ·45\'01442399                                                         506000 .NORFLET                                                             iGREGORY       05-Feb-17!                             05-Feb-17
                              810 i              45 i 01442399                                                       506000 OLLARI                                                               UAMES          05-Feb-17                              05-Feb-17
                                                                             Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 55 of 102

iCPWl                     54557'C23               '4616             ,i     201                                   7               9.87'                    1.41;01442399 ,506000 .OLLARI                                          .......
                                                                                                                                                                                                                                           JAMES                           05-Feb-17 , 05-Feb-17
!CPWl                     54557:C23                4616                   201'                               2.5                 3.75                          1.5' 01442399 :506000 OLLARI                                                JAMES                           05-Feb-17                        05-Feb-17
    ..............

'CPWl                      54551'C23               4616                   760                                    4                 24                            6 01442399 1507500 OLLARI                                                 JAMES                           05-Feb-17                        05-Feb-17
:CPW3                      67658'C20 ......
                                                   4616                   200                                 10.
                                                                                                              ..............
                                                                                                                                  450                          45 :01442399 '506000 SPAULDING                                    . ..... ,
                                                                                                                                                                                                                                            ROBERT                         05-Feb-17           , ..... 05-Feb-1T
                                                                                                                                                                                                                    i                                                      05-Feb-17                        05-Feb-17
:CPW3                      67658 C20               4616                   201                                    8      ,        13.2                    1.65 01442399 506000 .,,_.SPAULDING                                             ,
                                                                                                                                                                                                                                            ROBERT
 CPW3                      67658 C20               4616                   759                                    2                 16                            8,01442399 507500 'SPAULDING                                               ROBERT     ..............•.
                                                                                                                                                                                                                                                                           05-Feb-17                        05-Feb-17
                           67862:C20 "'!14616                                                                                  686.25                          45'01442399 506000 ST. GERMAIN                                            .DANIEL                           05-Feb-17 , ... 05-Feb-17
 CPWl                                                               : 200;                                 15.25:
 CPWl                      67862 C20               4616                    201:                              7.25~              11.96                     1.65101442399 506000 ST. GERMAIN ....... 'DANIEL                                                                 05-Feb-17                        05-Feb-17
,CPWl                      67862:C20              14616                   759                                   3:                 24                            8j01442399 507500 ST. GERMAIN                                              DANIEL                         05-Feb-17                        05-Feb-17'
,CPW3                      73044'C23              4616                    200                                  14                 630                          45i01442399 506000 :VELOZO                                                   GARY                   ....
                                                                                                                                                                                                                                                                           05-Feb-17    ..... ' ...........
                                                                                                                                                                                                                                                                                                            05-Feb-17
                           73044             C23   4616                   201                                   8;               13.2                    1.65 01442399 506000 iVELOZO                                                    ·GARY                             05-Feb-17                        05-Feb-17
  CPW3               .,'"                                                                                                           .••......•

  CPW3                     73044 C23               4616                   759                                   4ji                32'                           801442399           .507500                        'VELOZO                 GARY                           05-Feb-17                        05-Feb-17
                                                                                                                                    ........ ,.....              . ,       ...           ...........................: .,                                     . ...

  CPWl                     73949·COl               4616                   200:                               16.5:              742.5                          45:01442399            506000 WARD                                        iWILLIAM                          05-Feb-17                        05-Feb-17
                                                                                                                                                                   •..

  CPWl                     75431'C23               4616                   200:                                 15'                675                          45'01442399 506000 WILLIAMSON                                             ·EDDIE                            05-Feb-17........ 05-Feb-17
                                                                                                                ..
:CPWl                      75431C23                4616                   201;                                7.5               10.58                    1.4101442399 506000 WILLIAMSON                                                     EDDIE                          05-Feb-17                        05-Feb-17
.CPWl                      75431:C23               4616                   760:                                  3                  18:                           601442399 ....·507500                                WILLIAMSON            EDDIE                          05-Feb-17           ,
                                                                                                                                                                                                                                                                                                            05-Feb-17
                                                                                                                                                                '"                   ,.. ,
                                                                                 !

  CPW5                    105848'C03               4616                   200                                12.5               562.5;:                        45 :01442399 1506000 'CUNNINGHAM EDWARD                                                                     05-Feb-17                        05-Feb-17!
                                                                                                                                                      ... _...                                                                                                ...•........

"CPW5                     105848             C03   4616                   761.                                  3                  15,                           5,01442399 507500 CUNNINGHAM .EDWARD                                                         . ...
                                                                                                                                                                                                                                                                           05-Feb-17                        05-Feb-17
                                    .....                                  . ...     ~




  CPW5                    105848 C03               4616                   821'                               1.25:                  1.1.                 0.88101442399 508000 CUNNINGHAM EDWARD                                                                            05-Feb-17                        05-Feb-17
                                                                                                                                              "   ~


     \/5                  105848 C03               4616                   822i                                  ?S                6.23'                  0.83101442399 50800q CUNNINGHAM EDWARD                                                                            05-Feb-17
                                                                                                                                                                                                                                                                                 ............ •.....
                                                                                                                                                                                                                                                                                                            05-Feb-17
  CPW2                    106521:C24               4616                   200:                                 13,                 585                         45101442399 506000                                     MINEO                 LUCA                           05-Feb-17                        05-Feb-17
  CPW2                    107759;C24               4616            ,; .   200'.                                13                  585                         45:01442399 506000 GARRITY                                                   PATRICK                        05-Feb-17                        05-Feb-17
                                               ........                                                                                                                                                                                        .
  CPW5                    108488:C20               4616                   200                                  11'                 495                         45:01442399 506000 MULLEN                                                 .CHRISTOPHER                      05-Feb-17'                       05-Feb-17
'CPW5                     1084881c20              4616                    201                                   8                11.28                   1.41:01442399 506000 MULLEN                                                        CHRISTOPHER                    05-Feb-17                        05-Feb-17
  CPW5                    108488;C20              14616                   759,                                  3                    24                          8:01442399......... "507500                          MULLEN                CHRISTOPHER                    05-Feb-17                        05-Feb-17
                                                                                                                                                                                       ,         ....                               ....

  CPW2                    109958 C24               4616                   200                                10.5                472.5                         45:01442399 1506000 HOLT                                                    TYRONE                          05-Feb-17 . 05-Feb-17'
                                                                                                                                      .....
.,CPWl                       822             C23   4616                   200                                12.5'               562.5                         45 014423991506000 :ALVARADO                                                 EDEL                           12-Feb-17                        12-Feb-17
  CPWl
                               ............

                             822 C23
                                            •      4616                   201                                   8                11.28                   1.41 :01442399506000 ALVARADO
                                                                                                                                                                                                                                 . ..
                                                                                                                                                                                                                                            EDEL                           12-Feb-17                        12-Feb-17
  CPWl                       822 C23               4616                   201:                                4.5;                6.75,                        1.5:01442399 :506000 ALVARADO                                                EDEL                           12-Feb-17                        12-Feb-17
  CPWl                       822 'C23              4616                   760' .                                3'                   18                          6'01442399 ........ 507500 ALVARADO                                        EDEL                           12-Feb-17:                       12-Feb-17
  CPWl                       822 C23               4616                   8211                               12.5                18.75'                        1.5 ;01442399 508000 ALVARADO                                                EDEL                           12-Feb-1T                        12-Feb-17
                                                      •............ , .......... -                                                                                                                                                                         .......

.CPW3                      11636            ,C01S  4616                   200'                                  8                  360                         45101442399 506000 CHOINIERE                                                 LEONARD                        12-Feb-17.                       12-Feb-17
                              ......
                                                                    . 201!                                                                                                                                                                                                                                  12-Feb-17
'CPW3                      11636!COIS              4616           ,........................... ,C            6.25                 8.81!                  1.41101442399 '506000 CHOINIERE                                                    LEONARD                  I. 12-Feb-17
 iCPW3                    11636:C01S    4616                                        760,                        2                    121                         6:01442399 507500 CHOINIERE                                             jLEONARD                          12-Feb-17                        12-Feb-17
                                                                                           ...... .... "
                                                                                             ,


  CPW2                    17756:C24    4616                                         200 1                      12                  540:                        45:01442399 506000 DEROSE                                                 ;VINCENT                          12-Feb-17                        12-Feb-17
                          21462:C23 ,. 14616                                        760
                                                                  '...............•...•...
                                                                                                                2                    12                          601442399 1507500 ELLARD                                                   CLIFFORD
                                                                                                                                                                                                                                           ...
                                                                                                                                                                                                                                                                           12-Feb-17    ......
                                                                                                                                                                                                                                                                                                            12-Feb-1T
                          214621C23    14616                                        200                       9.5                427.5i                        4501442399 506000 ELLARD                                                     CLIFFORD                       12-Feb-17                        12-Feb-17
                            Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 56 of 102
                                                             ,   ....._.                                              _._-
iCPW5   21462:C23   A616    201,                        8                                11.281                 1.41i01442399 506000 'ELLARD                                                                                [CLIFFORD                                           12-Feb-17     12-Feb-17
 CPW1   26735:C20    4616   200'                     12.5                                562.5                          45)01442399 506000 !GEBO                                                                            ,JAMES                                              12-Feb-17     12-Feb-17
        26735C20     4616   201                         8'                                13.2                  1.65.:01442399 :506000 'GEBO                                                                                 JAMES                                              12-Feb-17     12-Feb-17
 CPW1   26735,C20   '4616   201:                      17                                 29.41::                1.73:101442399               . .. .....
                                                                                                                                                      ~
                                                                                                                                                         :506000GE66
                                                                                                                                                              ,
                                                                                                                                                                                                                             JAMES                                              12-Feb-17'    12-Feb-17
 CPW1   26735C20     4616   759                         3'                                  24                                8'01442399'507500          " .. ..      .....•. .. "
                                                                                                                                                                                   ::GEBO, , , " " , . " ".,.,   -   ,
                                                                                                                                                                                                                            :JAMES                                              12-Feb-17     12-Feb-17
 CPW3   26908.C23    4616   200                         6                                  270                          45)01442399 :506000 !GENTILE                                                                         ROBERT                                             12-Feb-17     12-Feb-17'
 CPW3   26908:C23   4616    201!                        5                                 7.05                  1.41:01442399 '506000 'GENTILE                                                                               ROBERT                                             12-Feb-17     12-Feb-17
 CPW3   2699~:q3     4616   760:                        2,                                  12                                6]01442399 507500 'GENTILE                                                                     ROBERT                                             12-Feb-17     12-Feb-17
:CPW3   29258:C20   :4616   200:                  8.5l                                   382.5:                 '451oi4423'~~i9.
                                                                                                                              .~     ..
                                                                                                                                    ,.-,
                                                                                                                                                        !506000   ..... -.
                                                                                                                                                                  .,
                                                                                                                                                                                     GRIMALDI
                                                                                                                                                                       .",.""","" "",."",
                                                                                                                                                                                                                             ANTHONY                                            12-Feb-17     12-Feb-17
                                                                                                                                                                                                                                                                                               ..
                                                                                                                                                                                                                                                                                               ,.".


'CPW3   29258'C20    4616   201'                  85                                     14.71                  1.73J01442399 :506000 'GRIMALDI                                                                            )ANTHONY                                             12-Feb-17     12-Feb-1T
 CPW3   29258.C20    4616   759                     3                                       24                                8J01442399.,
                                                                                                                                                            507500 GRIMALDI                                                  ANTHONY                                            12-Feb-17     12-Feb-17
 CPW5   29754'C23   '4616   200:               10.75                                    483.75                          45:01442399 506000 .:~U.XER                                                                          KEVIN                                              12-Feb-17     12-Feb-1T
 CPW5   29754:C23    4616   2011                    8                                    11.28                  1.~1:01442399 '506000 :GUYER                                                                           ." I!<EVIN                                               12-Feb-17.    12-Feb-17
          .. ..
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 CPW5   29754C23    4616    760i                    2                                     . 12!                               6:01442399 507500 GUYER                                                                      'KEVIN                                               12-Feb-17     12-Feb-17
                                                                                                                                                                                                  .....       .. .. ..                    "."""""""""""   ,   ,




 CPW5   34448C23     4616   200                13.25                                    596.25'                         45:01442399 .. ,506000           .. .. ..       ;  .....
                                                                                                                                                                             "
                                                                                                                                                                                  'JANKIEWICZ
                                                                                                                                                                                     ,    ",."""""""""
                                                                                                                                                                                                                            iSTEPHEN                                            12-Feb-17     12-Feb-1T
 CPW5   34448'C23    4616   201'                7.251                                    10.22,'
                                                                                          .   ,
                                                                                                               1.41:01442399 1506000 ,JANKIEWICZ                                                                             STEPHEN                                            12-Feb-17     12-Feb-1T
                     4616   201      ,--~
                                                    5                                       7.5'                     1.5101442399
                                                                                                                     .".,'         ..      .......
                                                                                                                                   "",,,,,,,,,,,,,,
                                                                                                                                                        !506000'                  ijANl<lEWlcz                               STEPHEN                                            12-Feb-17     12-Feb-17
                     4616   200,                11S                                      517.5                          45io1442399 506000 KORMAN                                                                          [JOSEPH                                              12-Feb-17     12-Feb-17
                     4616   20il····                8i                                   11.28                 1.41101442399 506000 KORMAN                                                                                 IJOSEPH                                              12-Feb-17     12-Feb-17
                     4616   201'                 25                                       3.75'                     i.5'loi442399 Is06000 KORMAN                                                                             JOSEPH                                             12-Feb-17     12-Feb-17
                     4616   760'                    2:                                       12,                              6'01442399 1507500 'KORMAN                                                                   'JOSEPH                                              12-Feb-17     12-Feb-17
                     4616   200                     165                                  742.5                         4?01442399 : ?06~00N()RFLET                                                                           GREGORY                                            12-Feb-17 1   12-Feb-17
                                                                                         652.5                         45)01442399 506000 !OLLARI       1                                                                    JAMES                                              12-Feb-17     12-Feb-17
                                                                                                                                                                                    OLLARI                                   JAMES                                              12-Feb-17     12-Feb-1T
                                                                                                                                                                                                        I                  !JAMES                                     ,,,-
                                                                                                                                                                                                                                                                                12-Feb-17     12-Feb-1
                                                                                                                                                                                                        I                  IJAMES                                               12-Feb-17     12-
                                                                                                                                                                                                        I                  iJAMES                                               12-Feb-17,    12-Feb-17
                                                                                           630                         45'01442399 )506000 'SPAULDING                                         .....
                                                                                                                                                                                                                           iROBERT        ~
                                                                                                                                                                                                                                                                                12-Feb-17     12-Feb-17
        67658C20     4616   759                        3                                     24                              8'01442399 !507500 SPAULDING                                                                  'ROBERT                                              12-Feb-17     12-Feb-17
        67658:C20    4616   822                        8                                    8.8                     1.1.:01442399 ,508000 ISPAULDING                        >0.,         ,_~.
                                                                                                                                                                                                                             ROBERT                                             12-Feb-17     12-Feb-17
        67862:C20    4616   200                     12.5                                 562.51                        45'01442399 ,506000 :ST. GERMAIN                                                                      DANIEL                                             12-Feb-17
                                                                                                                                                                                                                                                                                  ....
                                                                                                                                                                                                                                                                                              12-Feb-17,
        67862:C20    4616   201                        8                                  13.2                 i.6510i442399
                                                                                                                 ................. ...
                                                                                                                             ""            ............
                                                                                                                                    """""""""."
                                                                                                                                                        i 506000
                                                                                                                                                          ,
                                                                                                                                                                                 TST.GERMAI
                                                                                                                                                                                       ....
                                                                                                                                                                                                                    N    ~
                                                                                                                                                                                                                             DANIEL                                             12-Feb-17     12-Feb-17:
        67862fc20    4616   201'
                             ~   •••••• ->0
                                                      17
                                              , ,>0. _ •• .. , '
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                                                                                  ~".
                                                                                         29.41.... .. .
                                                                                                   "_   ,,
                                                                                                               1.73:101442399,506000 ,ST. GERMAIN                                                                            DANIEL                                             12-Feb-17'    12-Feb-171
                                                                                                                                  1
        678621c26   '4616   759 1                      3                                     24',                            8 61442399 507500 :ST. GERMAIN                                                                  DANIEL                                             12-Feb-17     12-Feb-17
        73044:C23   '4616   200!                       4                                   180                         451101442399
                                                                                                                --- -.-- .. .....
                                                                                                             " ""    ----,   ~'
                                                                                                                                                        [506000                   iVELOZO
                                                                                                                                                                                 ':" .... ...             ...            .
                                                                                                                                                                                                                             GARY
                                                                                                                                                                                                                             -   .......
                                                                                                                                                                                                                                 , ".""" ","""""'"                ,"""""""'-"
                                                                                                                                                                                                                                                                                12-Feb-17     12-Feb-17
        73044'C23   4616    201:                       4'                                 6.92                 1.73':01442399 506000 VELOZO                                                                                  GARY                                               12-Feb-17     12-Feb-17
                                                                                                                                                                                                                             GARY                                               12-Feb-17     12-Feb-17
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                                        506000   WARD           LLiAM
                                        506000   WILLIAMSON   EDDIE
                                        506000   WILLIAMSON   EDDIE
                                        506000   WILLIAMSON   EDDIE
                                        507500   WILLIAMSON   EDDIE
                                        508000   WILLIAMSON   EDDIE
                                        506000   CUNNINGHAM   EDWARD
                                        507500   CUNNINGHAM   EDWARD
                                        506000   MINEO        LUCA
                                        506000   GARRITY      PATRICK
                                        508000   MULLEN       CHRISTOPHER
                                                 MULLEN       CHRISTOPHER
                                                 MULLEN       CHRISTOPHER
                                                 HOLT              E

                                                 ALVARADO
                                                 ALVARADO
                                                 DEROSE                     12-Mar-17
                                                 DULUDE                     12-Mar-17
                                                 DULUDE                     12-Mar-17
                                                 DULUDE                     12-Mar-17
                                                 ELLARD                     12-Mar-17
                                                 ELLARD
                                        507500   ELLARD
                                        508000   ELLARD
                                        506000   GEBO                       12-Mar-17
                                        507500   GEBO                       12-Mar-17
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Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 59 of 102




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EXHIBIT 11
   Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 61 of 102




          TYPE                     CODE RANGE
 Administrative Support              0001-1599

    Paraprofessionals                1600-2099

      Professionals                 2100-2599

Officials & Administrators          2600-2899

   Protective Service               2900-3199

      Technicians                   3200-3599

      Skilled Craft                 3600-4099

    Service - Maint                 4100-4599

        Seasonal                    4600-4899

         Elected                    4900-4949
Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 62 of 102




EXHIBIT 12
             Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 63 of 102
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         PLEASE POST                                                   ~g~
          DEPARTMENT OF PUBLIC WORKS

          October 11,2013

          The Department of Public Works plans to fill the following positions:
                                                                     JOB
            PERM.         TEMP.               TITLE                                  SALARY RANGE
                                                                    CODE
                                                                                       $30.00/ hour &
              (40)       Intermittent     Snow Route Inspector         4616
                                                                                    $45.00/hour Overtime

         Present openings for the Department ofPublic Works (Winter Operations). This position is subject
         to transfer provision as stated in the Collective Bargaining Contract. The DPW is intending to hire 20
         primary and 20 back-up Snow Route Inspectors (40 ,total). Employees from City Departments other
         than DPW will be required to obtain approval from their supervisor allowing themto participate as a
         Snow Route Inspector during standard work days as well as overtime periods. Non-Bargaining
         employees are eligible to apply for the position. Pay rates for employees who make less than $30~
         on their full-time position will be compensated at the rates listed above for both straighHime and
         overtime, while employees who make more than $30/hr on their full time position will be paid at
         their usual full-time rate for straight-time and $45/ hr overtime.                   '

          Duties as listed but not limited to those as shown in Job Description 4616.

          Hours to conform with the operational work schedule to which assigned.

          Two informa,tional meetings will be held in the break room, at 70 Tapley 81. on October 25, 2012.
          The first meeting will be at 7am. This meeting is for current DPW employees. The second meeting
          will be at 10am for all non-DPW employees. If you cannot attend these meetings and you have
          questions about these positions, please contact John Rooney at 787-6209.

          Ifyou wish to be considered for the above position, notify the DPW-Director in writing·stating your
          interest for this position. Letter must be received before 4:00pm on the closing date at 70 Tapley
          Street.' Please indicate in your letter which City Department you are currently employed with.

          MUST HAVE A VALID DRIVERS LICENSE TO BE CONSIDERED

          LAST DATE FOR APPLYING: November 4, 2012



          for Allan R. Chwalek, Director
          Department of Public Works

          NOTE: This position will be paid only on a "while assigned" basis. All vacation, sick
          leave, other leave, and other assignments will be paid at the Employee's permanent (or
          temporary) classification rate of pay.
 Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 64 of 102




                          DePARTMeNT             PUBLIC WORKS




November 3, 2013


Allan Chwalek
DPW Director
70 Tapley Street
Springfield, MA 01104

Dear Al,

Please allow this letter to serve as my application for Snow Inspector for the
2013~2014 winter season. I have been an inspector for the past three years and I would
like to continue to serve the City in this capacity. I thank you for your time and
attention to this matter.




                                                    Edel Alvarado
                        Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 65 of 102




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     Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 66 of 102




                                                                   10/16/13

To: Mr. Chwalek

I James Gebo would like to be considered for the Intermittent Snow Route Inspector position.
I have been an inspector for the last couple of years. I've been an employee for the city for 17 years and
work for solid waste as a driver and have done plowing for the city for the past 10 years.




                                                                         Thank You
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                                                                      ".. James Gebo
 Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 67 of 102




To Whom it May Concern

         1 am in~~W4 in Snow route inspector (4616) for winter operation
I have been doing this for about 10 years as you might know and would like to continue.
I wouldapprecate your consideration for this position.




                                                          ~~nkY01)
                                                        Gary L.Vdozo

                                                YJ ~~[/~6
       Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 68 of 102




Robert Spaulding                                     16-0ct-13




Dear Mr. Chwalek


I am applying for the position of Snow Inspector
Job Code: 4616, I am confident that my skills are well aligned with the role that
I would be asked to perform. I would be an excellent fit for this position.

             Career Overview

19 Years of Service With The Department Of Public Works

             Accomplishments

Currently working as Second Shift Supervisor for Highways & Bridges

Shift Foreman during winter months

Snow Inspector

Intermittent Working Maintenance Foreman

Intermittent Working Foreman
Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 69 of 102
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    Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 70 of 102




                                Anthony Grimaldi                 November 1, 2013
                                53 Scott Street
                                Springfield, MA 01108
                                413-896-3433


Director Chwalek:


              I'm applying for the job posting of Snow Inspector (4616)
in the Street Services Division of the Department of Public Works.
I've been employed with the City Of Springfield, for a period of 21 years all with
the Department ofPublic Works.
              During my time of employment I've became familiar with all of the
everyday functions of the department. These functions include the cleaning and
repair of catch basins, making sidewalk repairs, repairing treebelts from plow
damage, and mostly any type of asphalt work, this would include porthole
patching, skin patching the patching of roads, sidewalks and driveway aprons.
              After becoming Intermittent Working Foreman, I know supervise the
Patching Crew. I can set up the daily work as well as supervise to make sure the
work is carried out. I can calculate the amount of asphalt needed to do a job, as
well as operating the roller when needed.
              During the past few years, I became involved in working the
Department Winter Shift. In which, I became familiar with weighing and
dispatching trucks to handle complaints called in by the public. I have also
inspected during plowing operations. As of the year, I also was a Winter Shift
Supervisor.
              If I should get this position, I would maintain a good working
relationship with my fellow employees as well as any contractors that we work
with occasionally, as well as any outside departments. The main purpose of the
department is to care for the safety of the general public.
              I appreciate the time you have taking to read my letter and I hope you
Would consider me for this position.

Sincerely:



Anthony R Grimaldi
Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 71 of 102




                                                    Springfield Department of Public Works
                                         70 Tapley Street, Springfield Massachusetts 01104
                                                      (413) 787-6224 FAX (413) 787-6212




I Cliff Ellard would like to be conceder for the
posted position of snow route inspector.         I
have been a snow inspector for over 15 years
with the city of Springfield.
I am currently employed as W.M. Foreman in the
DPW Traffic Department.



      CLIFF ELLARD
             Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 72 of 102

                               OCEAN STATE SIGNAL CO.
                            m                 27 Thurber Blvd., Smithfield, RI 02917
                                             Tel: (401) 231-6780' Fax: (401) 231-4390
                                                     www.oceanstatesignal.com


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  Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 73 of 102



October 25, 2013

In regards to: Snow Route Inspector

Allen Chwalek

Dear Allen Chwalek,

SUBJECT: JOB: CODE 4616

I am applying for the intermittent position of Snow Route Inspector. I have many years of inspection
experience. Thank you for your consideration.

Sincerely,




George M. LaRoe
Streets & Engineering Forman
Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 74 of 102




                                                    Springfield Department of Public Works
                                         70 Tapley Street, Springfield Massachusetts 01104
                                                      (413) 787-6224 FAX (413) 787-6212




I KEVIN GUYER would like to be conceder for
the posted position of snow route inspector.
I have been a snow inspector for over 10 years
with the city of Springfield.
I am currently employed as Signal tech. in the
DPW Traffic Department.



      KEVIN GUYER

 ~
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                                                         10/25/13




Mr. Chwalek,


I am requesting to be considered for the Intermittent Snow Route Inspector position
which was posted October 11,2013. I was trained and worked last year and would like
to work again this winter.
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October 31,2013



Allan R. Chwalek
Director of Public Works



RE: Snow Route Inspector/46l6

Please accept this correspondence as my written interest in the snow route inspector
position. I presently work for the Solid Waste Division in the Department of Public
Works.

Based on my previous experience and knowledge of city streets, I feel qualified as a
candidate for this position.

Thank you for your consideration.
 Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 77 of 102




                          DElPAR:TMSNT           PUBLIC WORKS




October 29, 2013


Allan Chwalek
DPW Director
70 Tapley Street
Springfield, MA 01104

Dear Al,

Please allow this letter to serve as my formal application for Snow Inspector for the
2013~2014 winter season. I have inspected for H&::B snow plowing operations for the
past fifteen years and I believe that I would be an asset to the department due to my
knowledge and experience. I thank you for your consideration in this matter.



                                                    Sincerely,



                                                    Rob Gentile

                                                            4t~
    Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 78 of 102



Vincent E. Derose Sr.
22 Tom Street
Feeding Hills, MA 01030
July 16,2013


Allan Chwalek, Director of Department of Public Works
70 Tapley St.
Spfld., MA 01104


Dear Mr. Chwalek:

I am writh"'1g to inform you of my interest in the position of Snow Route Inspector for the
Department of Public Works. I am confident that my skills and my passion for
technology are a perfect match for this position.

I would bring to the City a broad range of skills, including:

•    Over twenty eight years of construction and snow removal experience
•    Advanced knowledge and expertise in general road construction and safety
•    Positive attitude and dedication to whatever endeavor is given to me
•    The willingness to learn more and use those skills to benefit the team

I would welcome the opportunity to further discuss this position with you. If you have
questions or would like to schedule an interview, please contact me by phone at (413)
787-6213, Cell (413) 575-6401 or bye-mail atvderose@springfieldcityhall.com.

Sincerely,




Vincent E. Derose Sr.
Civil Engineer III
Engineering Division

Enclosure
 Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 79 of 102




                          DEPARTMENT            PUBLIC WORKS




To whom it may concern;

       I wish to be considered for the position of Snow Route Inspector for the upcoming
winter season. I currently work in the Solid Waste Division.




y;)~
Jacob Seldin
 Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 80 of 102




                           DIlPAItTM.IlNT         PUBLIC WORKS




October 24,2013


Stephen Beem
70 Tapley St.
Springfield, MA 01104

Dear Steve,

Please allow this letter to serve as my formal application for Snow Inspector for the
2013~2014 winter season.
               Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 81 of 102
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Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 82 of 102




                                                   Springfield Department of Public Works
                                        70 Tapley Street, Springfield Massachusetts 01104
                                                     (413) 787-6224 FAX (413) 787-6212




I Steve Jankiewicz would like to be conceder for
the posted position of snow route inspector.
I have been a snow inspector for over 15 years
with the city of Springfield.
I am currently employed as traffic engineering
foreman in the DPW Traffic Department.



                       Stephen Jankiewicz
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EXHIBIT 13
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                              Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 86 of 102


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Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 87 of 102




EXHIBIT 14
                                                            Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 88 of 102



                             DPW Snow Routes                                    2017-2018
CONTROL                      886-5028                                                                                             Backups
        Operations Control   Primary                                                                                      Trk#
Vinny DeSantis 155:                    St. Germain
Steve Beem- 163:                       Gebo
Bob Houldson:                ..   . Williamson
Jacob Seldin:                            Velozo
         Zone Inspectors               Spaulding
Steve Jankiewicz -167                   Grimaldi
                                         Ellard                                                                            216
                                        Korman
                                       Stevenson
                                         Guyer                                                                             164
                                         Garrity                                                                           152
                                         Gentile
                                          Olfari
                                         Derose
         Ticket & Towing                 Dulude
Greg Norflet -165
                                       Parking Ban
                              No Parking on the EVEN side     7PM-7AM
                              No Parking on the ODD side      9AM-4PM
Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 89 of 102




                      EXHIBITHH
      Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 90 of 102

      Kathleen E. Sheehan
       Chief ofLitigation
          Law Department
     36 Court Street, Room 210
        Springfield, MA 01103
        Office: (413) 787-6085
         Fax: (413) 787-6173
   Email: ksheehan@springfieidcityhall.com



                                             THE CITY OF SPRINGFIELD, MASSACHUSETT~S_ _IIIII~I!!I_~

                                                                                          EXHIBIT      /1
February 20, 20187
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Lisa Brodeur MeGan, Esq.
Brodeur MeGan, PC
1380 Main Street, Suite 202
Springfield, MA 01103

RE:     Jean Williams vs. City ofSpringfield Department ofPublic Works
        US District Court Civil Action # 3:16-cv-30179-MGM

Dear Attorney Brodeur MeGan:

As per your request, enclosed please find a revised Exhibit F to the Defendant's Answers to
Plaintiffs Second Set ofInterrogatories. This revised document indicates the zone/position
each listed person worked in, along with a Key indicating the area each listed section ("Sect.")
covers.

If you have any questions or concerns please feel free to contact me.

Very truly yours,




Kathleen E. Sheehan, Esq.

KES:sal

Enclosure
Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 91 of 102




                                       Fi5RD------secf~--·-1       l6-Jan-13 --~16-Jan~3
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Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 92 of 102
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     67862         4616          13                585           45     ST. GERMAIN           IDANIEL            Sect 1                   ll-Dee-16     ll-Dee-16
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     73949      I      4616           16.5            742.5             45      WARD                WILLIAM          Sect 15             OS-Feb-17    05-Feb-17
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      75431    4616                   14.5             65Z.5           45      IWILLIAMSON          EDDIE      Sect j                    12-Feb-17    12-Feb-17
      105848   4616                    15               675            45       CUNNINGHAM          EDWARD Sect 7                        12-Feb-17    12-Feb-17
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      109958   4616                    13               585            4S       HOLT                TYRONE                 Sect 19       12-Feb-17I   12-Feb-17
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        822    4616                    17               765            45       ALVARADO .. -       EDEL    Sect 1                       12-Mar-17    12-Mar-17
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      26908    4616                    12               540            45      IGENTILE           ROBERT        Sect 16                  12-Mar-17    12-Mar-17
       29258   4616                    15               675       EEGRIMALDI                      ANTHONY       Sect 8                   12-Mar-17    12-Mar-17
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               4616                  14,75            663.75        45  GUYER                     KEVIN          Sect 13                 12-Mar-17    12-Mar-17
       34448   4616                   12.5             562.5        45  JANKIEWICZ                STEPHEN         Zone                   12-Mar-17    12-Mar-17
       3815~   4616                    14               630         45 IKORMAN                    JOSEPH        Sect 10                  12-Mar-17    12-Mar-17
      53052    4616                   17,5             787.5        45  NORFLET                   GREGORY       Ticket &Tow              12-Mar-17    12-Mar-17
      54557    4616                  19.75            888.75        45  OLLARI                    JAMES         Sect 17                  12-Mar-17    12-Mar-17
       67658   4616 I                  16               720         45  SPAULDING                 ROBERT        Sprt h                   12-Mar-17    12-Mar-17

-      67862   4616                  16.25       I    731.25        45  ST. GERMAIN               IDA~IEL         Sect 1                 12-Mar-17    12-Mar-17
       73044   4616                    29              1305         45 IVELOZO                        GARY      .<:prt t:;               12-Mar-17    12-Mar-17
       73949   4616                    10               450         45  WARD                          WILLIAM    Sect 15                 12-Mar-17    12-Mar-17
       75431   4616                  17,75            79.8.75       45  WILLIAMSON                    EDDIE    Sect 3                    12-Mar-17    12-Mar-17
[     105848   4616                    19               855         45  CUNNINGHAM                    EDWARD ,Sect 7                     12-Mar-17    12-Mar-17
      105848   4616                     4                20          5  CUNNINGHAM                !EDWARD Sect 7                         12-Mar-17    12-Mar-17
      106521   4616r                  19.5             877.5        45  MINEO                      LUCA       Sect 11                    12-Mar-17    12-Mar-17
      107759   4616                    17               765       I 45  GARRITY                    PATRICK      Sect 14                  12·Mar-17    12-Mar-17
      108488   4616                   18,5             832.5        45  MULLEN                     CHRISTOPHER .l:\aclcup                12-Mar-17    12-Mar-17
      109958   4616                    17               765         45  HOLT                      ITYRONE          Sect 19               12-Mar-17    12-Mar-17
           Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 101 of 102




        ZONE DESCRIPTIONS

        Section     Descriptions
           1      N. End and part of Liberty height
          2       N. End, Liberty heights
          3       Liberty Heights   I I
          4       MckNIGHT- Bay St. area
          5       Metro Center - Part of McKnight
          6       Metro Center to Mason Sq, 6 corners
           7      Forest Pk.( Mill to Dickinson)
          8       Forest Pk.& part of E. Forest Pk.
          9       East Forest Pk. - Upper Hill
          10      East Forest Pk. (Abott to Roosevelt)
          11      16 Acres- (Bradley toCity line)
          12      16 acres -(Plumtree to. Boston Rd)
          13      16 acres - (Grayson to City line)
          14      Pine Point - Boston Rd

,   ,
          15      Indian Orchard    I I                  , I

                                                          I
          Case 3:16-cv-30179-KAR Document 41-25 Filed 01/09/19 Page 102 of 102




            ZONE DESCRIPTIONS I
                I
:J       Sectiof'             Zone Description
                                                                         >1

            1      N End- PLAINFIELD AREA -Chestnut
            2      N. End- Carew -Chestnut - Liberty
            3   Liberty Heights - N. End -E.Springfield
            4   E. Springfield
            5   Metro - Center - Bay St area
            6   Metro - Center - Mason Sq
            7   Bay St. area
            8   6 Corners to Old Hill (Hancock-Union)
            9   South End (ColumbusAve - 6 Corners)
           10   Forest Park (Longhill to The X)
           11   E. Forest Park( Dickinson to Daviston)
           12   E. Forest Park( Daviston - Roosevelt)
           13   E. Forest Park( Dorset -f3radley)
           14   16 Acres( Bradley to City Line)
           15   16 Acres( FairOak to Gary )
           16   Pine Point - 16 acres( Boston Rd - Plumtree)
           17   Boston Rd area
\          18   Northern E.Sprinfield -Indian Orchard)
           19   Pine Point -Indian Orchard(
     \     20   indan Orchard                                             v
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